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                            UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF OHIO

                                    NORTHERN DIVISION


CLEVELAND BAKERS AND TEAMSTERS )                    No. 1:24-cv-664
HEALTH and WELFARE FUND, Individually )
and on Behalf of All Others Similarly Situated, )   Judge:
9665 Rockside Road                              )
Valley View, Ohio 44125                         )   Class Action
                                                )
                             Plaintiff,         )
                                                )
       vs.                                          JURY TRIAL DEMANDED
                                                )
                                                )
PUBLICIS HEALTH, LLC,                           )
375 Hudson Street                               )
New York, New York 10014                        )
                                                )
                             Defendant.         )
                                                )

                               CLASS ACTION COMPLAINT

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 & DOWD LLP                                         & CHECK LLP
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I.     INTRODUCTION

       1.      The opioid epidemic has become an all too well known crisis that has plagued our

country for the better part of the last three decades.

       2.      As the push to expand prescription opioid use began in the late 1990s, Americans

became increasingly at risk at being affected either directly or indirectly by the opioid disaster.

The lesser-known truth is that greed and the desire to capitalize on pain is what drove the expansion

of the opioid crisis into families and homes across the country.

       3.      Since the push to expand prescription opioid use began in the late 1990s, the death

toll has climbed without any indication of slowing down. The number of opioid overdoses in the

United States rose from 8,000 in 1999 to over 20,000 in 2009. In the 20 year period between 1999

and 2020, 565,000 Americans died of opioid-involved overdoses.1 In the 12-month period ending

April 2023 alone, opioids claimed 111,355 lives.2




1
    Jonathan H. Duff, et al., The Opioid Crisis in the United States: A Brief History,
CONGRESSIONAL              RES.                  SERV.  (Nov.        30,       2022),
https://crsreports.congress.gov/product/pdf/IF/IF12260.
2
    Deidre McPhillips, Overdose deaths continue to rise in the US, reaching another record level,
provisional        data         shows,          CNN             (Sept.        13,         2023),
https://www.cnn.com/2023/09/13/health/overdose-deaths-record-april-2023/index.html.



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       4.      The proliferation and expansion of the opioid epidemic would not have been

possible without the rigorous and deceptive marketing of prescription opioids. For nearly a

decade, Publicis Health, LLC (“Publicis”) designed and implemented marketing strategies for

major opioid manufacturer and maker of the infamous OxyContin, Purdue Pharma, L.P.

(“Purdue”), and others, to increase the demand for opioid prescriptions and the sale of opioids.

       5.      Plaintiff Cleveland Bakers and Teamsters Health and Welfare Fund (“Cleveland

Bakers”) brings this action to prevent future harm and to redress Defendant’s past wrongs for its

role in proliferating opioid use disorder, opioid abuse, and addiction by relentlessly championing

and facilitating aggressive false marketing campaigns.

       6.      On May 10, 2007, John Brownlee (“Brownlee”), United States Attorney for the

Western District of Virginia, announced the guilty plea of the Purdue Frederick Company, the

parent of Purdue, relating to the misbranding of OxyContin. Brownlee stated:

       Even in the face of warnings from health care professionals, the media, and
       members of its own sales force that OxyContin was being widely abused and
       causing harm to our citizens, Purdue, under the leadership of its top executives,
       continued to push a fraudulent marketing campaign that promoted OxyContin as
       less addictive, less subject to abuse, and less likely to cause withdrawal. In the
       process, scores died as a result of OxyContin abuse and an even greater number of
       people became addicted to OxyContin; a drug that Purdue led many to believe was
       safer, less subject to abuse, and less addictive than other pain medications on the
       market.

       7.      Along with the guilty plea, Purdue agreed to a Corporate Integrity Agreement with

the Office of Inspector General of the United States Department of Health and Human Services

(“HHS”). For a period of five years, ending in 2012, Purdue was obligated to retain an independent

monitor and submit annual compliance reports regarding its marketing and sales practices and

training of sales representatives vis-à-vis their interactions with health care providers.

       8.      In the wake of Purdue’s accession to the Corporate Integrity Agreement, Purdue

faced newly imposed constraints on its sales and marketing practices. The Corporate Integrity


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Agreement became a problem Purdue wanted to solve. Despite the agreement’s constraints (i.e.,

do not lie about OxyContin), Purdue and its controlling owners, the Sackler family, still intended

to maximize OxyContin sales.

       9.      Given concern over this “concentration of risk,” the Sackler family spent

considerable time and energy debating the best way to achieve distance from Purdue, and they

collectively considered a variety of options for doing so. One option was to sell the company to

or merge the company with another pharmaceutical manufacturer. The proceeds of such a

transaction could then be re-invested in diversified assets, thereby achieving the Sacklers’ desired

distance.

       10.     Another option was to have Purdue borrow money in order to assure Purdue had

adequate funds to continue operating while the Sacklers, as owners, began to make substantial

distributions of money from the company to themselves. Once again, the proceeds of the

distributions could then be re-invested in diversified assets, thereby achieving the Sacklers’ desired

distance.

       11.     To pursue either option, the Sacklers needed to maximize opioid sales in the short

term to make Purdue – by then the subject of substantial public scrutiny – appear to be either an

attractive acquisition target or merger partner to another pharmaceutical manufacturer or a

creditworthy borrower to a lender.

       12.     In short, the Sacklers prepared to engage in a final flurry of opioid-pushing to rid

themselves of their pharmaceutical company dependency for good.

       13.     Given the complexity of the problem, the Sacklers and Purdue realized they needed

assistance to achieve these internally contradictory objectives. Purdue did not have the in-house

capability to design and implement a sales strategy for OxyContin that would achieve the Sacklers’




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desired objectives. Ultimately, Purdue hired Rosetta Marketing Services, LLC (“Rosetta”) to

design and implement marketing tactics to maximize sales of Purdue opioids including OxyContin,

and by April 2010, Rosetta and Purdue were working together to increase Purdue’s opioids sales.3

       14.     In May 2011, Publicis Groupe S.A. (“Publicis Groupe”), a marketing and public

relations conglomerate with principal offices in Paris, France and organized under French law,

acquired Rosetta. Publicis Groupe is one of the world’s largest advertising agencies and one of

the “Big Four,” the four firms that comprise more than half of the global advertising industry. By

October of 2021, Publicis Groupe was the largest advertising conglomerate in the world, with a

market capitalization in excess of $16 billion.4

       15.     Later, in May 2015, when Publicis Groupe restructured, Saatchi & Saatchi

Healthcare Communications (“Saatchi & Saatchi”) (doing business as “Razorfish Health”)

assumed Rosetta’s role and its liabilities as Purdue’s marketing agency for dangerous opioids,

including OxyContin.

       16.     In November 2015, upon the advice of Razorfish Health, Purdue executed a

noncompetitive Bid Exception form to contract with Verilogue Inc. (“Verilogue”)5 to record and

analyze conversations among pain patients and their doctors and nurses, to make Purdue’s

marketing more effective in getting doctors to prescribe Purdue’s drugs. Verilogue recorded

patient-physician conversations in exam rooms and hospitals and provided analyses of these



3
    In April 2010, Rosetta entered into a Marketing Services Agreement with Purdue Pharma, L.P.
4
    See Gideon Spanier, Publicis overtakes rivals to be world’s most valuable agency group, PR
Week, PRWEEK (Oct. 27, 2021), https://www.prweek.com/article/1731568/publicis-overtakes-
rivals-worlds-valuable-agency-group.
5
   Verilogue Inc. is an assumed registered name under which Publicis performs market research
and data analytics.



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recorded conversations to Publicis Groupe agencies for use in marketing campaigns for healthcare

clients, including Purdue.

       17.     In June 2016, Razorfish Health and Purdue amended their services agreement to

bring in Publicis Health Media, LLC (“Publicis Health Media”), to work on Purdue’s marketing

campaigns. As part of its efforts for Purdue, Publicis Health Media was to fight negative press

about OxyContin and substance use disorder and to implement marketing strategies inside a

prescriber’s electronic health records systems.

       18.     In December 2016, Saatchi & Saatchi merged with Publicis Healthcare

Communications Group and became Publicis.               Publicis is a global marketing company,

headquartered in New York, New York, and is owned by parent company Publicis Groupe.

Publicis has 40 offices and 11 brands worldwide and it controls agencies engaged in healthcare

marketing throughout the United States. Publicis performs media and public relations work for its

healthcare clients through Publicis Health Media.

       19.     Publicis and all of its subsidiary and trade name agencies are ultimately owned by

Publicis Groupe, the French global marketing and public relations company. Publicis Groupe

claims to have reinvented itself from a “Holding Company to a platform” ready for the “Connected

Age” and advertises itself as a “borderless, seamless service” to clients that is “free from silos,”

with “unified P&Ls” and no “operational barriers.”6 Essentially, Publicis Groupe serves as the

“Connecting Company” for its agencies and provides each client with access to all of the agencies’




6
   About Publicis Groupe, PUBLICIS GROUPE, https://www.publicisgroupe.com/en/the-
groupe/about-publicis-groupe (last visited Mar. 8, 2024).



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expertise, by following its Power of One business model and assigning a Client Leader to each

major client.7

       20.       Given its business model, Publicis knew that its marketing campaigns for Purdue

and others would be used to influence prescribers and patients. While Publicis Groupe boasts that

it requires all of its agencies to follow Responsible Marketing Key Principles that are “applied to

all forms of commercial communication delivered by Publicis Groupe agencies everywhere” and

promises that “ALL marketing communication ha[s] to be legal, decent, honest, and truthful . . .

[w]ithout any exceptions[,]”8 Publicis and its agencies conducted prolific opioid marketing

campaigns that were illegal, indecent, and dishonest.

       21.       Through the years, Publicis has acquired and developed particular expertise in

serving the pharmaceutical industry. Publicis – through its myriad divisions – serves multiple

pharmaceutical manufacturers in advertising their drugs. It relies on the healthcare sector for

approximately 13% of its annual revenue, making it one of the largest industry sectors by revenue

for the conglomerate.9

       22.       Despite the strictures imposed upon Purdue by the Corporate Integrity Agreement,

from 2010 until 2019, Publicis – through its acquisitions, mergers, restructuring, and assumption




7
   2019 Universal Registration Document, 2019 Annual financial report, at 5, 24, PUBLICIS
GROUPE,          https://www.publicisgroupe.com/sites/default/files/investors-document/2020-
05/PBS2019_URD_EN_180520.pdf (last visited Mar. 8, 2024); About Publicis Groupe, supra n.6.
8
    Responsible Marketing and Communication – Key Principles, at 1, PUBLICIS GROUPE,
https://publicisgroupe-csr-smartdata.com/assets/upload/en/Responsible%20Marketing.pdf (last
visited Mar. 8, 2024).
9
    See    H1    2021     Results,  at    15,    PUBLICIS GROUPE       (July 22,   2021),
http://documents.publicisgroupe.com/resultat2021/Presentation-H1-2021-RESULTS.pdf.



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of legal and registered names10 – was able to provide marketing schemes and analysis to Purdue

that contributed and facilitated unprecedented levels of opioid use disorders, overdoses, and

deaths. Publicis and its agencies engaged in an incessant course of aggressive and deceptive

marketing schemes that caused pain patients to suffer, overdose, and eventually die.

          23.   In 2012, as Purdue’s Corporate Integrity Agreement ended, Publicis’ ongoing

relationship with Purdue flourished. Throughout its relationship with Purdue, Publicis devised

and Purdue implemented unfair and deceptive marketing campaigns designed to push doctors to

prescribe opioids to more patients, in higher doses, and for longer periods of time. Publicis’

campaigns targeted the most dangerous prescribers.         Purdue and Publicis deployed illegal

advertisements embedded within patients’ electronic medical records with messages aimed at

getting doctors to convert patients to OxyContin, increase doses, and keep patients on OxyContin

longer.

          24.   Although the introduction of OxyContin by Purdue in the late 1990s is widely

acknowledged as a precipitating cause of the opioid crisis, Purdue was not alone in enthusiastically

inciting and exploiting the booming market of controlled substances used for the treatment of pain.

Publicis played a vital role in an industry-wide sales and marketing effort that it deployed over

years to maximize the amount of opioids that could be sold.

          25.   The sales and marketing efforts to sell opioids to as many individuals as possible,

even when they were known to be addictive, were not solely designed by manufacturers, like

Purdue, nor did the manufacturers implement these tactics on their own. Rather, pharmaceutical




10
   Publicis Groupe acquired companies like Rosetta and caused others like Razorfish Health,
Publicis Health Media, and Verilogue to merge or reorganize.



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manufacturers routinely relied on companies like Defendant’s to design and implement the sales

and marketing strategies used to sell opioids.

       26.     Publicis proudly took on this role as it engineered sales and marketing campaigns

for numerous opioid manufacturers, while also working to identify the optimal targets for the

different messages it was delivering on behalf of its clients. In many instances, pharmaceutical

manufacturers would outsource practically the entire business of selling its drugs. Through

Publicis Touchpoint Solutions, Publicis provided entire sales forces on a contract basis to be used

by their manufacturer clients to detail prescribers.

       27.     Given its partnerships with multiple clients, Publicis had a unique role. While it

strategized on how to help competing brands sell opioid products contemporaneously, it served as

a sort of hub, collecting knowledge of what numerous competitors within the industry were doing

with respect to designing sales and marketing campaigns that would seek to spread the sale and

use of prescription opiates. Indeed, Publicis worked with industry-wide groups to address

challenges that the entire opioids industry faced and compiled invaluable insights and business

intelligence, which it capitalized on by selling its industry knowledge and marketing acumen to

numerous clients.

       28.     For about a decade, on information and belief, Publicis collected more than $50

million from Purdue for dozens of unfair and deceptive marketing schemes and for conspiring with

Purdue to sell more opioids, in higher doses, for longer periods of time. Publicis was so committed

to the campaign that it became entwined with the OxyContin giant.

       29.     In 2013, despite significant headwinds, OxyContin sales finally peaked. The

restrictions on Purdue’s sales and marketing methods contained in the Corporate Integrity

Agreement should have resulted in fewer overall OxyContin sales: the guilty plea identified a




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specific segment of existing OxyContin sales that were illegitimate and should, thus, cease. All

else being equal, OxyContin sales should have decreased to account for the successful snuffing

out of improper sales. In fact, OxyContin sales did decrease in the immediate aftermath of the

2007 guilty plea.

       30.     However, with Publicis’ help, within five years of the plea OxyContin sales would

triple. Publicis presented specific plans to Purdue, which Purdue adopted and spent hundreds of

millions of dollars implementing. The result: an enormous wave of OxyContin sales.11

       31.     Like any other participant in the Opioid Marketing Enterprise (defined herein),

Publicis must be held accountable for its misconduct. Publicis is liable for its successful efforts to

increase OxyContin sales after Purdue’s 2007 guilty plea for misbranding the drug. Indeed,

Publicis’ primary goal was to increase the sales of the drug despite Purdue’s guilty plea to

misbranding and despite the Sacklers’ wish to exit the opioid market due to the perceived

reputational risks of remaining there.

       32.     Once it was hired, Publicis’ goal was to increase OxyContin sales in spite of the

restrictions imposed by the five-year Corporate Integrity Agreement. Publicis did not hesitate,

although it knew or had reason to know that OxyContin was addictive and deadly.

       33.     All of Purdue’s managerial acrobatics were necessary for it to seem financially

attractive enough that a potential buyer would be willing to discount (or even overlook) the

otherwise obvious risks associated with purchasing the maker of OxyContin. Purdue was the

proverbial hot potato that the Sackler family hired Publicis to help hand over to someone else. As



11
    On February 10, 2018, Purdue announced that it is no longer marketing opioids and disbanded
its OxyContin sales force. OxyContin maker Purdue will stop selling doctors on opioids, PBS
NEWS HOUR (Feb. 11, 2018), https://www.pbs.org/newshour/show/oxycontin-maker-purdue-will-
stop-selling-doctors-on-opioids.



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for Publicis, it was all too happy to help as it devised a successful strategy to purposefully increase

the amount of OxyContin sold in the United States.

       34.     In the end, of course, the Sacklers pressed on and squeezed Purdue until its eventual

demise in 2019. While the full scope of the opioid crisis has become clearer, opioid abuse

continues to plague pain patients claiming the lives of hundreds of thousands of Americans each

year, all at a great cost to the national healthcare system.

       35.     Publicis’ unethical and unlawful behavior is a matter of grave public importance.

In addition to Purdue, Publicis provides services to many more companies Americans rely on for

powerful drugs. Thus, Publicis plays a major role in deciding how drugs are marketed, prescribed,

sold, and eventually consumed in America.

II.    JURISDICTION AND VENUE

       36.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1331, as Plaintiff brings claims under the Racketeer Influenced and Corrupt Organizations Act

(“RICO”), 18 U.S.C. §1961 et seq., which raise a federal question. This Court also has subject

matter jurisdiction under 28 U.S.C. §1332(d)(2), because: (a) there are 100 or more Class

members; (b) at least some Class members, including Plaintiff, are citizens of a state that is diverse

from Publicis; and (c) the matter in controversy exceeds $5,000,000, exclusive of interest and

costs. This Court has supplemental jurisdiction over the Plaintiff’s state law claims under 28

U.S.C. §1367 as those claims are so related to the RICO claim that they form part of the same case

or controversy.

       37.     This Court has personal jurisdiction over Publicis under Ohio Rev. Code §2307.382

and because the causes of action alleged in this Complaint arise out of, or relate to, Publicis’

transacting business in the State of Ohio and this District, including, contracting to supply services

or goods in this state, causing tortious injury by an act or omission in this state, and because


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Publicis regularly does or solicits business or engages in a persistent course of conduct or derives

substantial revenue from goods used or consumed or services rendered in this state.

        38.     At all times relevant hereto, Publicis engaged in the business of researching,

designing, and implementing marketing and promoting strategies for opioid manufacturer, Purdue,

that were intended to be, and were, implemented in, or whose implementation had a substantial

and intended effect in Ohio. In sum, Publicis purposefully directed its actions towards Ohio and/or

has the requisite minimum contacts with Ohio to satisfy any statutory or constitutional

requirements for personal jurisdiction.

        39.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(2) in that a

substantial part of the events or omissions giving rise to the claims occurred in the Northern District

of Ohio. Venue is also proper under 18 U.S.C. §1965(a) because Defendant resides, is found, have

agents, or transact their affairs in this District.

III.    PARTIES

        40.     Plaintiff Cleveland Bakers and Teamsters Health and Welfare Fund is a multi-

employer trust fund established to provide health and welfare benefits to collectively bargained

members represented by Bakers’ Union Local No. 19 and Teamsters Local Union No. 507.

Cleveland Baker’s principal office is located at 9665 Rockside Road in Valley View, Ohio 44125.

Cleveland Bakers indirectly purchased, paid, incurred costs, and/or reimbursed for prescription

opioid drugs manufactured, marketed, sold, or distributed by Purdue and other Opioid Marketing

Enterprise Members (defined in the RICO claim below), for purposes other than resale (intended

for consumption by its participants, covered dependents, and covered retirees), and incurred costs

for treatment related to the misuse, addiction, and/or overdose of opioid drugs during the class

period. Given its participants’, covered dependents’, and retirees’ history of opioid purchases and

need for medical care resulting from opioid abuse or addiction, Cleveland Bakers anticipates that


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it will continue to purchase and/or provide reimbursement for opioids and/or incur costs for opioid

related treatment in the foreseeable future.

       41.     Defendant Publicis Health, LLC f/k/a Publicis Healthcare Communications Group

is a Delaware limited liability company with its principal place of business at 375 Hudson Street.

Bsmt 1, New York, New York 10014-7464. Publicis is a healthcare marketing company that

promotes itself as much more than a mere advertising broker. Instead, it is a team of “more than

3,000 healthcare professionals” who achieve “marketing and business transformation” with

“world-class talent and game-changing capabilities.”

       42.     Publicis is registered to do business in Ohio, and it solicits and regularly conducts

business in Ohio. Publicis derives substantial revenue from the services it renders in this state,

including, until recently, services it rendered to the marketing of Purdue’s dangerous opioids:

OxyContin (extended-release oxycodone), Butrans (extended-release buprenorphine), and

Hysingla (extended-release hydrocodone). Publicis performs some of its healthcare marketing

business, including for Purdue, under the registered assumed name Razorfish Health. Publicis

performs healthcare market research and data analytics under the registered assumed name

Verilogue. Publicis is part of a consortium of entities that do business in Ohio and throughout the

United States under the umbrella of parent company Publicis Groupe,12 which maintains an office

at 629 Euclid Avenue, 15th Floor, Cleveland, Ohio 44114, and is registered to do business in Ohio.

       43.     In September 2019, in the wake of thousands of lawsuits accusing the company of

grievous misconduct for its role in causing the opioid epidemic, Publicis’ top opioid client, Purdue,

filed for bankruptcy. In Purdue’s bankruptcy case, more than one hundred thousand personal


12
    About Publicis Groupe, supra n.6 (“Publicis Groupe is organized into 4 Solutions Hubs for
easier connectivity and integration: Publicis Communications, Publicis Media, Publicis Sapient,
and Publicis Health”).



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injuries claims were filed. States and local governments filed claims for trillions of dollars in

harm.

        44.    On October 20, 2020, Purdue – Publicis’ co-conspirator – agreed with the United

States Department of Justice (“DOJ”) to plead guilty to improper marketing of OxyContin and

other opioids again. This time the plea agreement with Purdue concerned conduct from 2010 to

2018 and included $8.3 billion in penalties from Purdue and $225 million from the Sackler family.

        45.    In November 2020, the Sackler family and Purdue settled the civil claims by the

DOJ and Purdue’s guilty plea to felonies spanning a decade was entered. The materials filed in

connection with that plea and settlement refer to schemes that Publicis devised and helped

implement. Publicis must be held accountable for its role in the opioid epidemic.

IV.     FACTUAL ALLEGATIONS

        46.    This lawsuit concerns Publicis’ work for opioid manufacturers, including Purdue

and its owner, the Sackler family, beginning at least as early as 2010, and in particular Publicis’

work in the years after Purdue’s 2007 guilty plea relating to its sales and marketing strategy for

opioids. From 2010 until 2019, Purdue was Publicis’ top opioid client, and Publicis was Purdue’s

number one marketing partner. Publicis provided marketing plans, public relations advice, and

analyses, which allowed Purdue to target influence over more potential opioid prescribers than

ever before. As the below chart shows, within just four years of retaining Publicis, Purdue went

from targeting 5,000 prescribers to 400,000, from sending 22,000 emails to prescribers in 2010 to

sending 12,000,0000 emails in 2013. During the same period, Purdue went from having one

website dedicated to targeting prescribers to having eight.




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                                   Source: Purdue Infographic

       47.     In May of 2010, Publicis was advising Purdue on precisely the same sales and

marketing strategy and practices for OxyContin that were the subject of the Corporate Integrity

Agreement, which was supposed to bind Purdue to honest and transparent marketing regarding its

opioids. But, Publicis disregarded the Corporate Integrity Agreement and continued its work after

the expiration of the Corporate Integrity Agreement and at least through 2019.

       48.     By 2015, Publicis was marketing all three of Purdue’s dangerous opioid drugs:

OxyContin, Butrans, and Hysingla. At all relevant times, Publicis knew that the opioid crisis was

tied to prescription opioids like OxyContin and that the crisis was getting worse. Publicis’ staff

tracked and circulated articles and studies chronicling the mounting rates of opioid use disorder

and overdose deaths across the country. Notwithstanding the mounting evidence of harm and

damage that was being done to communities nationwide, Publicis doubled down to keep

OxyContin prescriptions flowing to as many patients as possible.




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       A.      Purdue Agrees to Be Bound by a Corporate Integrity Agreement
               After Pleading Guilty to Misbranding Oxycontin

       49.     On May 10, 2007, the Purdue Frederick Company, Purdue’s parent company, as

well as three of Purdue’s officers, pleaded guilty to the misbranding of OxyContin pursuant to

various provisions of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §301, et seq.

       50.     Purdue admitted that “supervisors and employees, with the intent to defraud or

mislead, marketed and promoted OxyContin as less addictive, less subject to abuse and diversion,

and less likely to cause tolerance and withdrawal than other pain medications.”

       51.     Concurrent with the Purdue Frederick Company’s guilty plea, Purdue entered into

a Corporate Integrity Agreement with the Office of Inspector General of HHS on May 7, 2007.

       52.     Under the Corporate Integrity Agreement, Purdue was obligated to comply with its

terms for a period of five years, expiring on May 10, 2012.

       53.     Pursuant to the Corporate Integrity Agreement, Purdue was obligated to implement

written policies regarding its compliance program and compliance with federal health care

program and U.S. Food and Drug Administration (“FDA”) requirements, including:

       (c) selling, marketing, promoting, advertising, and disseminating Materials or
       information about Purdue’s products in compliance with all applicable FDA
       requirements, including requirements relating to the dissemination of information
       that is fair and accurate. . . including, but not limited to, information concerning the
       withdrawal, drug tolerance, drug addiction or drug abuse of Purdue’s products;

       (d) compensation (including salaries and bonuses) for Relevant Covered Persons
       engaged in promoting and selling Purdue’s products that are designed to ensure that
       financial incentives do not inappropriately motivate such individuals to engage in
       the improper promotion or sales of Purdue’s products;

                                          *       *       *

       (g) the process by which and standards according to which Purdue sales
       representatives provide Materials or respond to requests from HCP’s [health care
       providers] for information about Purdue’s products, including information
       concerning withdrawal, drug tolerance, drug addiction, or drug abuse of Purdue’s
       products . . . [including] (i) the form and content of Materials disseminated by sales


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       representatives[,] and (ii) the internal review process for the Materials and
       information disseminated by sales representatives.13

       54.     Purdue was also obligated to engage an Independent Review Organization to ensure

its compliance with the strictures of the Corporate Integrity Agreement, and to file compliance

reports on an annual basis with the Office of Inspector General of HHS.

       B.      Purdue Partners with Publicis to Aggressively Increase Its Opioid
               Sales Despite the Company’s Guilty Plea and Corporate Integrity
               Agreement

       55.     The Sackler family has owned and controlled Purdue and its predecessors since

1952. At all times relevant to this Complaint, individual Sackler family members occupied either

six or seven of the seats on Purdue’s board of directors (“Board”), and at all times held a majority

of Board seats. To advise the Board of Purdue was to advise the Sackler family. The interests of

the Sackler family and the Purdue Board, and Purdue itself, as a privately held company, are all

aligned. Practically, they are indistinguishable.14

               1.      The Sacklers Distance Themselves from Purdue

       56.     After the 2007 guilty plea, the Sackler family began to reassess its involvement in

the opioid business. On April 18, 2008, Richard Sackler, then the co-chairman of the Board along

with his uncle, communicated to other family members that Purdue’s business of selling


13
    Corporate Integrity Agreement Between the Office of Inspector General of the Department of
Health and Human Services and Purdue Pharma L.P. (May 8, 2007),
https://www.documentcloud.org/documents/6452110-2007-Purdue-Corporate-Integrity-
Agreement.
14
     Craig Landau (“Landau”), soon to become Chief Executive Officer (“CEO”) of Purdue,
acknowledged in May 2017 that Purdue operated with “the Board of Directors serving as the ‘de
facto’ CEO.” The future CEO of the company, in other words, understood that he would have
little practical power despite his new title. The owners ran the business. See The Role of Purdue
Pharma and the Sackler Family in the Opioid Epidemic, HEARING BEFORE THE COMMITTEE ON
OVERSIGHT AND REFORM HOUSE OF REPRESENTATIVES                               (Dec.   17,     2020),
https://www.govinfo.gov/content/pkg/CHRG-116hhrg43010/html/CHRG-116hhrg43010.htm.



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OxyContin and other opioids was “a dangerous concentration of risk.”                Richard Sackler

recommended a strategy of installing a loyal CEO of Purdue who would safeguard the interests of

the Sackler family, while at the same time positioning Purdue for an eventual sale by maximizing

OxyContin sales.

       57.     In the event that a purchaser for Purdue could not be found, Richard Sackler

conveyed that Purdue should increase its free cash flow to the Sacklers. This would have the effect

of maximizing the amount of money an owner could take out of a business, and is a tacit

acknowledgement that reinvestment of profits in the business was not a sound financial strategy.

It is, in other words, an acknowledgement that Purdue’s reputation and franchise was irrevocably

damaged, and that Purdue’s opioid business was not sustainable in the long term.

       58.     By 2017, with the hope for any acquisition now gone, the Sacklers’ decision to milk

opioid profits by distributing more free cash flow on the way down had its natural effect on Purdue.

Craig Landau, the then CEO, is believed to have criticized the Sacklers for de-emphasizing and

minimizing R&D at Purdue, leaving the company unable to innovate.

       59.     In fact, in the years after the 2007 guilty plea, Purdue would retain only the absolute

minimum amount of money within Purdue as possible: $300 million, which was the amount that

Purdue was required to retain pursuant to a “partnership contract [that Purdue had] with another

company.” Otherwise, all the money was distributed to the owners.15

       60.     Concurrently, the Sacklers backed away from day-to-day jobs at Purdue. During

the ongoing investigation that resulted in the 2007 guilty pleas, “several family members who




15
   See Jared S. Hopkins, At Purdue Pharma, Business Slumps as Opioid Lawsuits Mount, WALL
ST. J. (June 30, 2019), https://www.wsj.com/articles/purdue-pharma-grapples-with-internal-
challenges-as-opioid-lawsuits-mount-11561887120?mod=hp_lead_pos6.



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worked at Purdue stepped back from their operational roles.”16 In 2003, Richard Sackler himself

resigned as the president to assume his role of co-chairman. Dr. Kathe Sackler and Jonathan

Sackler chose to exit their roles as senior vice presidents. Mortimer D.A. Sackler quit being a vice

president.

           61.   However, the Sacklers remained on the Board.

           62.   At the time Richard Sackler communicated these plans to distance the family from

Purdue, the Sacklers had already established a second company, Rhodes Pharmaceuticals L.P.

(“Rhodes”). The Sacklers established Rhodes four months after the 2007 guilty plea.17 Rhodes’

purpose was to sell generic versions of opioids. It was, in other words, a way for the Sacklers to

continue to make money off of opioids while separating themselves from Purdue. By 2016,

Rhodes held a larger share of the opioid market than Purdue. Through Purdue, the Sacklers

controlled 1.7% of the overall opioid market. When combined with Rhodes, however, the

Sacklers’ share of the overall opioid market was approximately 6% of all opioids sold in the United

States.18




16
   Barry Meier, Pain Killer: An Empire of Deceit and the Origin of America’s Opioid Epidemic
167 (2nd ed. 2018).
17
    David Crow, Billionaire Sackler family owns second opioid maker, FIN. TIMES (Sept. 9, 2018),
https://www.ft.com/content/2d21cf1a-b2bc-11e8-99ca-68cf89602132.
18
     Id.



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                 2.     Purdue Hires Publicis to Devise and Implement an OxyContin
                        Sales Strategy and Manage Purdue’s Reputation to Achieve
                        the Sacklers’ Goals

           63.   The Sacklers faced a problem: the need to grow OxyContin sales as dramatically

as possible so as to make Purdue an attractive acquisition target or borrower, while at the same

time appearing19 to comply with the Corporate Integrity Agreement.

           64.   Purdue and the Sacklers were well aware of the constraints posed by the Corporate

Integrity Agreement.      Indeed, during a May 20, 2009 Executive Committee Meeting, the

discussion led to whether Purdue should have a single sales force marketing all Purdue products,

including OxyContin, or instead to “create a separate Sales Force for Intermezzo (a sleeping pill)

that would be comprised of approximately 300 representatives.” John Stewart (“Stewart”), the

Sacklers’ chosen CEO for Purdue at the time, saw an opportunity, and asked if the Corporate

Integrity Agreement would apply if Purdue were to launch Intermezzo and another Purdue product,

Ryzolt (a branded version of Tramadol, another narcotic painkiller), using the separate sales force.

Might the new drug launch fall outside of the Corporate Integrity Agreement? – he asked.20

           65.   It would not, he was told by Bert Weinstein, Purdue’s Vice President of

Compliance.21

           66.   Given the tension between compliance with the Corporate Integrity Agreement and

the desire to sell more OxyContin, Purdue needed help.


19
    As one Purdue executive stated of Purdue’s attitude toward the Corporate Integrity Agreement:
“They did not listen to their critics and insisted they had just a few isolated problems. After the
settlement, they didn’t change – the way the sales force was managed and incentivized, everything
stayed the same.” David Crow, How Purdue’s ‘one-two’ punch fueled the market for opioids, FIN.
TIMES (Sept. 9, 2018), https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c.
20
     Purdue Executive Committee Meeting Notes and Actions, at 2 (May 20, 2009).
21
     Id.



                                               - 19 -
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       67.     Since Purdue did not have the requisite expertise to address the problems posed by

the Corporate Integrity Agreement internally, it hired Publicis to devise a sales and marketing

strategy to increase opioid sales in light of the Corporate Integrity Agreement and growing concern

about the “concentration of risk” that Purdue’s business of selling opioids posed to its owners.

       68.     In short, Purdue would pay Publicis for it to devise strategies and plans on how to

sell as much OxyContin as it could as quickly as possible, so that the Sacklers could obtain cash

to diversify their investment holdings away from Purdue.

       69.     Consistent with their plan to dissociate themselves from the company, the Sacklers

had appointed Stewart as the CEO of Purdue in 2007. The Sacklers viewed Stewart as someone

loyal to the family. He had previously worked for a division of Purdue in Canada. Stewart’s job

was to assist the Sacklers with the divestiture or eventual orderly wind-down of Purdue. Stewart

was paid more than $25 million for his services to Purdue from 2007 through 2013.

       70.     From as early as May 2010 and continuing at least through 2019, Purdue relied

upon Publicis to orchestrate its sales and marketing strategy for OxyContin. The relationship was

characterized by ongoing interactions between teams from Publicis and Purdue regarding not only

the creation of an OxyContin sales strategy, but also its implementation.

       C.      Purdue Relies on Publicis to Increase Opioids Consumption and
               Publicis Aims to Keep Patients on Higher Doses for Longer

       71.     Some of Publicis’ earliest work for Purdue was the development of a series of

marketing schemes to get patients to titrate up to higher doses of OxyContin and prolong patients’

“length of therapy.” These schemes were related; Publicis knew that higher doses increased length

of therapy and that prolonging treatment led to tolerance which in turn would lead to even higher

doses. Although Publicis knew that increasing titration and length of therapy increased patients’

risk of opioid use disorder, overdose, and death, it also knew these trends were good for Purdue’s



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bottom line.22 From 2012 through 2018, Publicis and Purdue signed Statements of Work for

Publicis and have been accused of creating or refreshing marketing campaigns which included

targeting and contacting “doctors who had the highest volume of OxyContin prescriptions and

encouraging them to increase the dosages for patients.”23

       72.     Publicis developed an internal campaign to get Purdue’s sales force to prioritize

dosage titration. Purdue and Publicis used the word “titration” to mean increasing the dose of a

patient’s opioid prescription.    Purdue focused its marketing campaign on reinforcing the

importance of titrating (increasing prescription dosages) directly with prescribers and retained

Publicis to execute on both.     Publicis and Purdue intended their internal campaigns to be

motivating calls to action for sales representatives to push prescribers to prescribe more and higher

doses of Purdue’s drugs.

       73.     In April 2013, Publicis agreed to deploy an email campaign prompting prescribers

to download OxyContin “Savings Cards” – an updated version of the OxyContin “starter coupons”

that Purdue had in the 1990s to get thousands of patients on OxyContin.24 Publicis charged Purdue

about $47,000 for the Savings Cards campaign, a “drop in the bucket” as once a patient took

OxyContin for a few months the patient was much less likely to stop. Publicis knew, or should



22
    See Barry Meier, Sackler Scion’s Email Reveals Push for High-Dose OxyContin, New Lawsuit
Disclosures         Claim,          N.Y.        TIMES          (Jan.       31,        2019),
https://www.nytimes.com/2019/01/31/health/opioids-purdue-pharma-sackler.html.
23
    Iowa to receive $2.5M as part of opioid settlement, THE GAZETTE (Feb. 6, 2024),
https://www.thegazette.com/state-government/capitol-notebook-lawmakers-advance-bill-
allowing-iowa-cities-to-cap-rent-costs/.
24
   United States General Accounting Office, OxyContin Abuse and Diversion and Efforts to
Address the Problem, GAO-04-110, at 23-24 (Dec. 2003), https://www.gao.gov/assets/gao-04-
110.pdf (describing OxyContin starter coupons); Mathias Dewatripont & Michel Goldman, Free
Drug Samples and the Opioid Crisis, 379 New Eng. J. Med. 793, 793 (2018).



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have known, that Savings Cards would be a top strategy for keeping patients on OxyContin for

longer periods of time. It was later estimated that the incremental impact of the OxyContin Savings

Cards led to more OxyContin prescriptions by April 2014 as the “savings cards” had release dates

in January and would not expire until March 31 of the following year, they were designed to

eliminate any “disruptions between offer periods.”25

       74.     Later in 2013, in response to a significant decline in average patient doses, Publicis

refreshed Purdue’s Individualize the Dose campaign for OxyContin. Designed to drive prescribers

to move patients to higher doses more quickly, the campaign featured “real life examples” of

patients and paired them with one of OxyContin’s seven tablet strengths, seemingly allowing

prescribers to individualize the dose to their patient. Due to growing awareness of the risk of

opioid use disorder, overdose, and death, Publicis knew that prescribers were prescribing less

OxyContin, particularly the most profitable high doses, so it redesigned the Individualize the Dose

campaign to reverse that trend.26

       75.     At the end of 2013, Publicis knew, or should have known, what it was undertaking.

As early as 2007, U.S. Attorney Brownlee was charging that “Purdue, under the leadership of its

top executives, continued to push a fraudulent marketing campaign” noting that “[i]n the process

scores died as a result of OxyContin abuse and an even greater number of people became addicted

to OxyContin; a drug that Purdue led many to believe was safer, less abuseable, and less addictive


25
    Christine Willmsen, Suit: Patients Who Used Purdue’s Discount Cards Were More Likely To
Get        Hooked        On         OxyContin,        WBUR         (Feb.       1,       2019),
https://www.wbur.org/news/2019/02/01/purdue-oxycontin-savings-cards; Exs. 91-105 to
Affidavit in Support of Director’s Motion to Dismiss, PPLPC012000433404,
https://www.mass.gov/doc/july-16-2019-affidavit-in-support-of-directors-motion-to-dismiss-
exhibits-091-105/download (last visited Mar. 8, 2024).
26
   Exs. 91-105 to Affidavit in Support of Director’s Motion to Dismiss, PPLPC002000186925,
supra n.25.



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than other pain medications on the market.”27 Purdue was aware that CEO Stewart was under

pressure and suspected he would be fired. The source of the pressure was the Sacklers. And, the

focus of that pressure was a relentless demand to sell more drugs and retain more patients.28

       76.     Publicis recognized that the Sacklers’ desperate desire for growing sales was an

opportunity for Publicis to profit. So, Publicis set out to help Purdue and the Sacklers sell more

drugs. Month after month, Publicis signed new statements of work with Purdue, continuing its

work to increase average dose and keep patients on opioids longer. Publicis knew the dangers of

Purdue’s opioids but instead of emphasizing the risks of OxyContin, Publicis attempted to

humanize the brand to engage prescribers and get them to prescribe to more patients, at higher

doses, and for longer periods of time.

       77.     One way Publicis humanized Purdue and its opioids was through the S.T.A.R.T.

campaign’s29 “Patient Case Study Vignettes.” Publicis partnered with Purdue to create patient



27
    David Corn, Why Eric Holder Represents What’s Wrong with Washington, MOTHER JONES
(Jan. 14, 2020), https://www.motherjones.com/politics/2009/01/why-eric-holder-represents-
whats-wrong-
washington/#:~:text=Even%20in%20the%20face%20of,that%20promoted%20OxyContin%20as
%20less; see also The Purdue Frederick Company, Inc. and Top Executives Plead Guilty to
Misbranding OxyContin; Will Pay Over $600 Million, BIOSPACE (May 11, 2007),
https://www.biospace.com/article/releases/the-b-purdue-frederick-company-inc-b-and-top-
executives-plead-guilty-to-misbranding-oxycontin-will-pay-over-600-million-/.
28
    Exs. 91-105 to Affidavit in Support of Director’s Motion to Dismiss, PPLPC012000448835-
6, supra n.25 (includes emails from Mortimer Sackler demanding additional information on lost
patients, decline in market and declining sales).
29
    S.T.A.R.T. “campaign was introduced to assist the ASF representatives in communicating the
key elements of appropriate OxyContin titration. It also allows for an easy way to remember the
key elements when titrating patients to the appropriate OxyContin dose. S = Supplement with an
immediate-release analgesic, T = Titrate every 1-2 days as needed, A= Adjust the dose by 25%-
50%, R = Reassess the patient’s analgesia and tolerability throughout the treatment, and T = Tailor
the dose based on the reassessment, titrating up or down.” Exs. 91-105 to Affidavit in Support of
Director’s Motion to Dismiss, PPLPC012000433404, supra n.25.



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vignettes to get doctors to “increase focus on the appropriate patient” who could be started on

OxyContin and titrated to higher doses.30 Publicis developed the new patient vignettes to provide

“real life” examples for the physician to relate to. For all three of the patient examples, the

“Individualize the Dose” campaign was reinforced and further supported the S.T.A.R.T. principles

to increase dosage and, thus, patient retention through increased dependence on higher doses.31

Publicis facilitated the delivery of patient vignettes to prescribers, together with savings card

information in what were “Patient Essentials Pack[s]” which were provided to prescribers when

their patients began to use OxyContin. When Purdue completed the profitability analysis of the

“Patient Essentials Pack[s]” in June 2013, it determined it had a full cost return on investment

(“ROI”) of 5.7 (i.e., a 570% return).32

           78.   Publicis knew that Purdue’s drugs were dangerous. In May 2014, in confidential,

internal correspondence “Summary of Activities Relating to New Extended Release Opioid Class

Labels and Acceptance of Abuse Deterrent Formulations of Opioids” for OxyContin, Purdue

executives wrote to Raymond Sackler regarding citizens’ petitions that were filed by the

Physicians for Responsible Opioid Prescribing (“PROP”) who requested the FDA impose daily

dosage maximums, add 90-day maximum durations for opioid use, and restrict extended release

opioid use to “severe-only” pain.33 The correspondence indicated that at the time of Purdue’s

switch to the new Abuse-Deterrent Formulation (“ADF”) in August 2010, “Purdue undertook a



30
   Exs. 91-105 to Affidavit in Support of Director’s Motion to Dismiss, PPLPC002000186925,
supra n.25.
31
     Id.
32
     Id.
33
     Id., PWG000412143.



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broad based strategy using legal, regulatory, and government affairs strategies to attempt to

influence the policies around ADF technologies.”34 In September 2013, Purdue’s investment paid

off as the FDA denied the PROP’s requests and only agreed to modify existing labeling. Notably,

while Purdue’s new ADF formulation claimed to have abuse deterrent properties like being crush-

resistant or anti-dilution,35 the formulation did nothing to prevent abuse via swallowing. And, at

the same time, Publicis continued to develop marketing campaigns for Purdue to drive more

prescriptions, at higher doses, for longer periods of time.

           79.   In 2014, Purdue had Publicis consider strategic initiatives, and how Purdue could

capitalize on the top opportunities for oxycodone brands. Purdue relied on Publicis so much that

it was the only agency with whom Purdue shared certain information regarding declining sales of

OxyContin. Publicis suggested Purdue focus on titration. In response to correspondence regarding

declining OxyContin sales, Publicis worked around the clock to develop targeted marketing

campaigns and initiatives to combat the decline. At the end of one such week, Publicis sent Purdue

an OxyContin “Financial Tracker” including Statements of Work that totaled 41,767 hours of work

– enough to keep twenty people busy full-time for a year.36

           80.   In August 2014, Publicis staff met and discussed opportunities for Purdue,

including projects focused on “patient retention” – strategies designed to keep patients on

OxyContin for longer periods of time. In that meeting, Publicis noted its overall strategy for

maintaining its client and circulated internal notes memorializing its proposed strategies. The

notes revealed how Publicis monetized its work for Purdue, right down to the dollar value of a


34
     Id.
35
     Id.
36
     Id.



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patient: “What is a patient worth?” Publicis queried whether it needed to disguise or “veil[]”

“retention” efforts and instead label them as “patient engagement.” Publicis noted, and, thus knew,

that in the past, “Purdue got reprimanded for going after patients too aggressively,” a telling

reference to Purdue’s 2007 federal guilty plea for felony misbranding. The focus of the meeting

was keeping patients on OxyContin for longer, to increase Purdue’s ROI, and figuring out what to

call Purdue’s plan so that Purdue could get away with it without tipping off the authorities.37 The

theme of Publicis’ meeting was clear, it would do whatever was necessary to help Purdue achieve

its goal of profits over people. For Publicis, the only metric that mattered was ROI.




                                                                                         38


           81.   Publicis listed that one of the factors for achieving a 2:1 ROI for Purdue was to get

the patient to stay on OxyContin for one more month or have the patient fill “just one more refill.”39

           82.   Each incremental month and each additional pill strength meant more money for

Purdue and greater success for Publicis, but for patients, each step up meant greater risk of opioid

use disorder, overdose, and death.

           83.   Publicis later requested data from Purdue, including a request for Purdue’s “average

value of a patient, by brand, and by dose.” Publicis wanted to know if Purdue had calculated how



37
     2014-08-07 Purdue Meeting Notes, PUBLICIS-0127877.
38
     Id.
39
     Id.



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many dollars a patient was worth to the company, to inform Publicis’ work. Purdue sent data

showing that the higher the dose of OxyContin, the longer the length of therapy and indicated to

Publicis that these discussions should occur offline.

       84.     Publicis analyzed the data from Purdue and concluded that increasing each patient’s

average length of therapy, especially on extended release formulations, would be more profitable

than sales of short acting opioids.

       85.     Publicis would then create Purdue’s OxyContin Business Plan for the upcoming

year and present it to Saeed Motahari (“Motahari”), Purdue’s Chief Commercial Officer.40

Publicis knew that Purdue was facing increasing external pressure to reduce abuse, diversion, and

overdose, but nevertheless it wrote that one of the primary objectives was to “maintain positive

growth” of new OxyContin prescriptions. In just three short years, Publicis partnered with the

FDA’s Center for Drug Evaluation and Research (“CDER”) to design a “Search and Rescue”

campaign to reach medical practitioners with the highest opioid prescribing rates.41 Publicis knew

patients taking Purdue’s opioids faced risk of opioid use disorder, overdose, and death, yet it

pushed onward with marketing campaigns to increase prescriptions of Purdue’s drugs.

       86.     In 2014, Publicis relaunched the titration campaign it had developed for Purdue in

2013. The goal of the campaign refresh was to determine if titration would lead to an increase in

length of therapy with patients who have initiated therapy with OxyContin. Publicis knew the

longer patients were on opioids, the more money Purdue would make and the more likely the


40
   Following his stint at Purdue, Motahari went on to become CEO of disgraced criminal opioid
company Insys Therapeutics, Inc.
41
    Josie Feliz, Partnership for Drug-Free Kids Announces Relaunch of “Search and Rescue”
Opioid Prescriber Education Campaign Website, PARTNERSHIP TO END ADDICTION (May 15,
2018), https://drugfree.org/newsroom/news-item/partnership-drug-free-kids-announces-relaunch-
search-rescue-opioid-prescriber-education-campaign-website/.



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patient would become addicted, overdose, and die, yet it framed its campaign as a means to

personalize medication to a patient’s needs and obtain “good responses” or “better pain relief.”

Notably, these patient profiles never provided examples where a patient’s dosage was titrated

down.

        87.    Publicis then pitched Purdue on a number of marketing schemes, including its

vision to redo Purdue’s patient-facing Partners Against Pain website.42 Opioid companies like

Purdue used unbranded websites, like Partners Against Pain – sites that did not promote a drug by

name – to promote prescribing of extended-release opioids as a class which would in turn increase

prescriptions for Purdue’s branded drugs in that class, like OxyContin. Noting how the Partners

Against Pain website was named in lawsuits, Publicis would start fresh. Publicis pitched its ability

to transform Purdue’s communications with patients by claiming to be experts on how to influence

consumers to achieve Purdue’s goal of extending patients’ length of therapy and would launch

new programs that were alternatively titled to create direct links to patients. Disregarding Purdue’s

“promise” to the FDA that it would not do “[direct-to-consumer] advertising for this dangerous

and controversial category of medications (opioids, highly addictive, narcotic painkillers that are

highly probe [sic] to abuse, misuse, diversion, addiction and accidental overdose),” Publicis

viewed direct engagement with patients as a significant opportunity for its business. Given its

experience with Purdue, Publicis wanted to expand its offerings into patient engagement programs

and solidify its position as the lead engagement partner that Purdue worked with. Publicis believed

that if it secured this project with Purdue, it would be a groundbreaking advance in its own patient



42
    Latesha Richards, Evaluating Two Unbranded Sites: Purdue Pharma’s “Partners Against
Pain” and Pfizer’s “Get Healthy, Stay Healthy,” PM360 (June 24, 2013),
https://www.pm360online.com/evaluating-two-unbranded-sites-purdue-pharmas-partners-
against-pain-and-pfizers-get-healthy-stay-healthy/.



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engagement capabilities, and provide it with extensive bragging rights, amongst others in the

industry, thus increasing its own dominance and influence in pharmaceutical marketing.

       88.     Although the Patient Retention Program that Publicis pitched never came to

fruition, Publicis kept pushing aggressive marketing strategies for Purdue’s branded drugs –

OxyContin, Butrans, and Hysingla – in exchange for millions of dollars in annual contracts. When

Publicis made these pitches to target doctors, pharmacists, and payers on Purdue’s behalf, it

understood that the marketing tools it used to sell more opioids were more about persuasion than

education.

       89.     Publicis targeted any audience that could or would influence the distribution of

prescription opioids so that no step in the process from experiencing and expressing pain to a

prescriber, to obtaining a prescription, to having that prescription approved and filled, stood as an

obstacle between patients and their taking more or higher doses of Purdue’s drugs.

       90.     Purdue’s objective was so aggressive that in the summer of 2015, Purdue arranged

for the Publicis marketing team to join Purdue sales representatives on face-to-face visits with

doctors to promote OxyContin. Publicis’ marketing team members went into the field alongside

Purdue sales representatives and watched as they promoted OxyContin to doctors and heard

firsthand why doctors would or would not prescribe OxyContin. Publicis would then use the

information gathered from these sales representative ride-alongs to create targeted marketing

schemes to encourage sales representatives to get doctors to prescribe more OxyContin.

       91.     However, Publicis’ ongoing efforts were not limited to doctors and prescribers. To

help facilitate a patient’s access to Purdue’s drugs, Publicis targeted pharmacy and therapeutic

committees (“P&T Committees”) of major pharmacy benefit managers (“PBMs”) to enter into

communications with them. On information and belief, Publicis directly communicated with P&T




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Committees and delivered marketing information, thereby, influencing the decisions that

established, continued, or expanded coverage of Purdue’s drugs on a PBM’s formularies.

       92.     Defendant’s communications and misrepresentations regarding Purdue’s opioids

were calculated to reach Plaintiff and other third-party payors (“TPPs”) through their PBMs to

positively influence the placement and status of Purdue opioids on Plaintiff’s formularies. Positive

placement on Plaintiff’s or another TPPs’ formularies would serve to get quicker and easier

approval for a prescription’s coverage, thus, increasing patients’ access to Purdue’s drugs.

Purdue’s desperate efforts to sell more drugs paid off and the Sacklers, who Publicis had described

as “looming,” made it onto Forbes’ list of the richest families in the world. OxyContin sales had

put Purdue’s Sackler family on the top of the Forbes richest dynasties list.43

       93.     By 2016, Purdue recognized that the expansion of OxyContin sales was the result

of Publicis’ marketing campaigns to increase doses and length of therapy. In March 2016,

recognizing Publicis’ role in OxyContin’s boom, Purdue hired Publicis to do “everything it had

done for OxyContin for Butrans.” Publicis celebrated the award of the Butrans account. A few

weeks later, John Dwyer (“Dwyer”) summed it up to his team, emphasizing how Publicis provided

strategy and engagement to Purdue:

       And so ultimately, 3 weeks ago when the client told us that he was going to move
       the rest of the Butrans business over to Razorfish Health, the reason he said he was
       doing it was because he wanted us to replicate exactly everything we did last year
       on OxyContin. The creative campaign refresh, the vis aid that far outshone the
       Butrans and Hysingla ones which were done by another agency, the strategic
       planning we brought them for the new competitors who are coming, and the overall
       revitalization of a brand that needed a boost as it went into its [sic] 20th. He said,



43
    Chloe Sorvino, The Newcomers To America’s Richest Families 2015: Clans Behind
OxyContin,      Tootsie     Roll,    Grey      Goose,      FORBES     (July    1,     2915),
https://www.forbes.com/sites/chloesorvino/2015/07/01/the-newcomers-to-americas-richest-
families-2015-clans-behind-oxycontin-tootsie-roll-grey-goose/?sh=32d114aa325a.



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        “We want more like that. We want you to do the exact same thing this year, but
        now with Butrans.”

Dwyer continued, “It’s an example of what we can do when we manage the client’s biz like its

[sic] our own.”44

        94.    Days later, Purdue put Hysingla out for bid, and in May 2016, awarded the account

to Publicis. Publicis executive vice president Karl Tiedemann was ecstatic about the news and the

“amazing relationship” between the companies. Quoting a Purdue employee, he noted this was

“the final piece and we now own Purdue.”

        95.    Publicis went on to apply the same titration messages that had been so successful

with OxyContin to patient vignettes for Hysingla, and Purdue loved it. Dwyer and Christina

Ceniza (“Ceniza”) discussed how Publicis took over the creation of the Hysingla patient vignettes

from a competitor that was coming up short, and anticipated Purdue’s every need. Ceniza

described a Purdue marketing staffer’s reaction to Publicis work: “you mean i can have my cake

and eat it, too?! and we were like YES!!”45




44
    Erik Oster, Former Razorfish Health Account Director Quoted Gandhi in Memo on Winning
Butrans Due to Strength of OxyContin Work, AGENCYSPY (May 10, 2021),
https://www.adweek.com/agencyspy/former-razorfish-health-account-director-quoted-gandhi-in-
memo-on-winning-butrans-due-to-strength-of-oxycontin-work/.
45
     2016-03-18 email from Dwyer, “Conversation with Christina Ceniza,” PUBLICIS-0450259.



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       96.    Fulfilling its promise to Purdue, when drafting the Hysingla patient profiles,

Publicis staff made sure to titrate them up to higher doses when converting patients from an

immediate-release drug to Hysingla.

       97.    Publicis understood that once patients were on Purdue’s opioids, they were often

hooked and on their way to higher and higher doses. Publicis knew that discontinuation was

usually an irrelevant subject matter as once a patient was on an ERO [Extended- Release Opiate],

the only way was up.

       D.     Purdue Develops Electronic Media Campaigns Designed to
              Recommend Purdue’s Opioids for Diseases for Which They Are Not
              Indicated

       98.    Throughout its work, Publicis knew that none of Purdue’s opioids were approved

to treat specific diseases and that their statements and presentations to prescribers suggesting

otherwise were improper and misleading.

       99.    Nevertheless, for several years, Publicis developed and implemented “Conditions

Campaigns” designed to infiltrate web searches on diseases for which opioids are not indicated –




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namely, low back pain, cancer pain, and osteoarthritis pain – to push prescribers into prescribing

Purdue’s opioids.46

       100.    Internally Publicis recognized the success of the “Conditions Campaigns.” In 2013,

Publicis staff boasted, “The Campaigns pertaining to Conditions were the most successful out of

last year’s [Search Engine Marketing] strategy and [had] resulted in 25,548 Clicks, driving the

most visits to the PurdueHCP site.”47




       101.    Seeking to expand on the success of the OxyContin Conditions Campaigns, in

2014, Publicis proposed expanding the conditions to include multiple sclerosis, trigeminal

neuralgia, and spinal cord injury, but rather than use search words associated with diseases for




46
   See David Ovalle, Ad agency tied to Purdue Pharma settles opioid claims for $350 million,
WASH. POST (FEB. 1, 2024), https://www.washingtonpost.com/health/2024/02/01/opioids-
oxycontin-purdue-publicis-health-lawsuit/.
47
   2014-07-14 email from Michael Caruso, PUBLICIS-0473520, attaching presentation, “2013
Top Performers – Campaigns & Ads, Top Ads” PUBLICIS-0473522 at -522.



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which OxyContin is not indicated, Publicis chose to modify the resulting ads to refer ambiguously

to “That Condition,” as shown below.

        102.   Rather than discontinuing the Conditions Campaign, due to liability concerns,

Publicis chose to modify the resulting ads to refer ambiguously to “That Condition[,]” as shown

below.48




        E.     Publicis Designs Marketing Strategies to Combat Hesitation
               Surrounding Opiates as a Decline in OxyContin Sales Threatens
               Purdue’s Profits

        103.   By 2015, awareness and concern regarding the opioid crisis was growing among

prescribers. To counter the skepticism, Publicis developed a marketing strategy instructing

Purdue’s marketing team to adopt a “value proposition” for OxyContin – a reason why prescribers

should consider the drug to be a safe and responsible choice for their patients, in spite of their

appropriate caution. While Publicis wrote about OxyContin being the only opioid to address the

pain management needs of both patients (efficacy and dosing flexibility) and society (proven abuse

deterrent properties) it knew that OxyContin’s formulation had nothing to deter abuse or addiction.

               1.      Publicis Works to Deceive the Public

        104.   In October 2014, Purdue met with Publicis to revise its “Outward Facing Strategy”

and content for its corporate website. Publicis listed “responsible,” “productive,” and “good

corporate citizen,” as the top three takeaways they would want a visitor to the website to associate

with Purdue. Publicis and Purdue strategized to develop a new corporate tagline – a short, pithy




48
     PurdueHCP (OxyContin) Paid Search MRL Submission, PUBLICIS-0035882 at -898.



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phrase that the website audience would associate with Purdue. To improve Purdue’s corporate

reputation, Publicis knew Purdue would have to ditch its current corporate mantra, “profitable

growth.” Regardless of what Publicis and Purdue would eventually tell the public, both knew that

Purdue was set on selling more OxyContin.

       105.    Publicis understood that managing Purdue’s reputation and making Purdue appear

socially responsible was the key to selling more OxyContin, and OxyContin made up 90% of

Purdue’s revenue.

       106.    As part of Publicis’ efforts to revamp Purdue’s image, Publicis (via Razorfish

Health) launched the now-defunct website TeamAgainstOpioidAbuse.com.49 The website was

purportedly “designed to help healthcare professionals and laypeople alike learn about different

abuse-deterrent technologies and how they can help in the reduction of misuse and abuse of

opioids.”50

       107.    The unbranded website was full of misinformation regarding the effectiveness of

abuse-deterrent properties of certain opioid formulations, including Purdue’s reformulated

OxyContin and Hysingla.51 As explained by Purdue’s Vice President of Health Policy, Dr. David

Haddox, “The concept is that we’re all part of a team.”




49
    Kevin McCaffrey, Purdue debuts opioid-abuse resource, MED. MKTG. & MEDIA (Aug. 17,
2015),     https://www.mmm-online.com/home/channel/campaigns/purdue-debuts-opioid-abuse-
resource/.
50
   Purdue Pharma L.P. Launches TeamAgainstOpioidAbuse.com, FIERCE PHARMA, (Aug. 20,
2015,                   https://www.fiercepharma.com/marketing/purdue-pharma-l-p-launches-
teamagainstopioidabuse-com.
51
   At the time only three ADFs were available on the market OxyContin (Purdue), Hysingla
(Purdue) and Embeda (Pfizer).



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       108.    Two months later, in an effort to manage Purdue’s growing public image problem,

Publicis partnered with Purdue to reach an even broader audience in an attempt to garner a

favorable public opinion. Knowing that keeping a positive image was vital to OxyContin sales

and Purdue’s profits, Publicis scripted a 60-second television commercial for Purdue CEO Mark

Timney (“Timney”). Timney claimed that Purdue was doing everything [it could] to reverse this

public health problem.

       109.    In November 2015, Purdue partnered with the National Sheriffs’ Association to

provide free-of-charge naloxone overdose kits and training to law enforcement agencies across the

country. Timney again boasted that Purdue was committed to combatting opioid abuse by stating

that “[f]or more than a decade we’ve worked with law enforcement to combat prescription drug

abuse,” and Purdue was “proud to continue that commitment by supporting this lifesaving

program.”52 Nothing could have been further from the truth.

               2.     Publicis Works to Deceive Doctors

       110.    Despite its messaging campaigns, Publicis knew that some prescribers remained

skeptical of the safety of OxyContin. In 2016, Publicis collaborated with Purdue’s marketing team,

to script a training video for Purdue sales representatives titled “The Handler.” The video advised

Purdue sales representatives to model themselves on “Ken,” a fictional yet ideal sales

representative. In the mock-up for the video, Publicis set the stage for Ken’s introduction: “Eye

of the Tiger” plays as a full-body shot of Ken, arms folded across his chest, spins 360-degrees and

text flies onto the screen noting that Ken “faces challenging objections from prescribers head-on,”




52
   Purdue Pharma Grant, NAT’L SHERIFF’S ASSOC., https://www.sheriffs.org/purdue-pharma-
grant (last visited Mar. 8, 2024).



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covers a territory of “100 square miles[,]” and even included his “[f]avorite pre-detail coffee

drink[,]” a “[t]riple-shot brevi latte.”53




        111.    Publicis scripted Ken to push back against doctors’ concerns about addiction.

When asked about the risk of addiction, Ken would reply that “the potential for these risks should

not prevent the proper management of pain in any given patient.” Ken downplayed the addiction

risks and assured doctors that they were manageable. By creating Ken, the fictitious ideal sales

representative, Publicis was training sales representatives on tactics and ideas to adopt and use for



53
     “‘The Handler’ – Objection Handling,” PUBLICIS-0007493-494.



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their visits with prescribers. Ken was scripted to quote selectively from the Full Prescribing

Information, omitting reference to “intensive monitoring” of patients at increased risk of opioid

use disorder, a process that would cause doctors to hesitate before prescribing OxyContin. Publicis

and Purdue wanted Purdue sales representatives across the country, to follow “Ken’s” example to

mislead doctors about the risks of OxyContin so they would prescribe more of it.

       112.    Along with “Ken,” Publicis developed other “Objection Handler” content designed

to overcome any objections to prescribing OxyContin. In other content development workshops,

Publicis devised sample responses for sales representatives that would help them to overcome

prescriber objections. Publicis also taught Purdue sales representatives to deliver misleading

messages that suggested the blame and stigma of opioid use disorder be placed on patients rather

than on the addictiveness of Purdue’s drugs – drugs that Publicis and Purdue knew could be abused

and caused opioid use disorder even when simply swallowed and taken as directed.

               3.     Publicis Works to Deceive Patients

       113.    Publicis knew doctors were not the only hurdle, as growing awareness of the opioid

epidemic grew, patients were also hesitating to accept prescriptions for OxyContin. To combat

that trend, Publicis told Purdue to use physicians to ease patients’ worries and use direct patient

education efforts to get patients comfortable with taking OxyContin. After analyzing recordings

of conversations between doctors and patients, Verilogue advised Purdue that it should help

physicians proactively address patient pushback against opioids by instructing them to educate and

reassure patients on the importance of balance in pain management and the physician’s role in it.

               4.     Publicis Works to Deceive Payors

       114.    As set forth above, Defendant’s communications with P&T Committees concerning

Purdue’s prescription opioids informed formulary decisions for their TPP clients, including

Plaintiff. Indeed, as Plaintiff was the payor for Purdue’s prescription opioids, Defendant’s


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communications and misrepresentations targeted Plaintiff through the agents that established

Plaintiff’s formularies. Defendant engaged in concerted and deceptive efforts to obtain positive

placement on a PBMs’ formularies, and, thereby, deceived Plaintiff and other TPPs into approving

coverage and payment for Purdue’s opioid drugs.

       F.      Publicis Counters Public Health Efforts to Stop the Opioid Epidemic
               to Protect Purdue’s Profits

       115.    In March 2016, the Centers for Disease Control and Prevention (“CDC”) issued a

Guideline for Prescribing Opioids for Chronic Pain (“CDC Guidelines”), a set of guidelines to

protect patients from the overprescribing of opioids and the associated risks of opioid use disorder.

Publicis jumped on assessing the situation for Purdue. After a month of in-depth analysis, Publicis

delivered a detailed report on the implications of the CDC Guidelines, declaring each of the CDC’s

12 guidelines a “threat” to Purdue’s opioid profits.54

       116.    Publicis concluded that the safety guidelines the CDC determined would be good

for patients would be bad for Publicis’ opioid marketing. At the height of the epidemic, when

hundreds of thousands had already been killed and the nation was trying to save people’s lives,

Publicis worried about the possibility that doctors might prescribe fewer opioids, or lower doses,

or fewer pills in a prescription, or that patients might choose safer medicines instead.

       117.    The biggest hit would be to high dose opioids, prescriptions at more than 90

morphine milligram equivalents (“MME”) per day. Publicis knew that Purdue specialized in

dangerous, high dose prescriptions. While just over 20% of all extended-release opioids would be

affected by the guidelines limiting high doses, nearly half of all OxyContin prescriptions – more

than two million prescriptions across the country – exceeded the dangerous 90 MME threshold. A


54
  See CDC Guidelines Guideline for Prescribing Opioids for Chronic Pain – United States 2016,
CDC (Mar. 18, 2016), https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.



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patient prescribed the OxyContin 80 mg pill, every 12 hours per the indication for the drug,

received 240 MME per day, nearly three times the CDC Guidelines. Publicis knew that the CDC

Guidelines would save lives but it proceeded with its marketing efforts to fight back against them.

       118.    Publicis noted the CDC Guidelines to prescribe the “lowest effective dosage” as a

significant threat to Purdue’s high doses. Publicis knew that higher, more dangerous doses of

Purdue’s drugs meant more profits for Purdue. Publicis knew that the success of its 2013 refresh

of Purdue’s “Individualize the Dose campaign” would be measured by whether there was shift

away from the trend of lower doses of OxyContin towards higher doses. Publicis was also aware

that the CDC’s recommendations to proceed “cautiously” and “carefully justify” high dose

OxyContin prescriptions would undermine Publicis’ efforts to get doctors to write higher dose

OxyContin prescriptions.

       119.    In response, Publicis told Purdue to focus its messaging on advising doctors to

“[s]tart low, go slow” and “[r]eassess patient’s therapy at every step” and developed marketing

campaigns focused around these themes. While on the surface, these messages appeared to be

about patient evaluation, Publicis was actually measuring a campaign’s success by how much it

would lead to increases in a patient’s dosage.55




55
   2016-04-04 presentation, Assessment of CDC Opioid Guideline and FDA IRO Label
Requirements, PUBLICIS-0015534, at slide 7.



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           120.   To combat the CDC’s recommendation that practitioners start patients on less

dangerous immediate-release opioids instead of extended-release opioids like OxyContin, Publicis

created marketing pieces showing extended-release opioids as appropriate for opioid-naïve

patients and told Purdue to clarify the definition of opioid-naïve to exclude patients who had taken

any opioids, at all, in the last six months.

           121.   To counter the negative impact on sales from the CDC’s call for prescribers to

review a patient’s drug history in state prescription drug monitoring programs (“PDMPs”),

Publicis urged Purdue to control the narrative and warn doctors through the OxyContin website

and marketing emails that they needed to balance the information from the PDMPs with whether

“[the] patient would continue to experience pain.”56




56
     Id.



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        122.    Publicis’ direction for how to counter the CDC Guidelines was worth millions, if

not billions, of dollars to Purdue. Purdue studied prescription data to calculate how much profit it

would lose if doctors followed the CDC’s advice.57

        G.      Publicis Identifies Growth Opportunities for OxyContin Sales Both in
                and out of the Current Market

        123.    In January 2019, the Commonwealth of Massachusetts alleged that Purdue and

members of the Sackler family worked with McKinsey & Company (“McKinsey”), a management

consulting firm, to devise a plan to increase OxyContin sales by “direct[ing] sales reps to the most

prolific opioid prescribers,” including those who write “ʻ25 times as many OxyContin scripts’ as

less prolific prescribers. ’”58


57
     2012-08-14 OxyContin ACAM Presentation, PWG00062610, at slide 28.
58
    First Amended Complaint and Jury Demand, Commonwealth of Massachusetts v. Purdue
Pharma L.P., No. 1884-cv-01808-BLS2 (Suffolk Super. Ct. Jan. 31, 2019),
https://www.mass.gov/files/documents/2019/07/11/43_01%20First%20
Amended%20Complaint%20filed%2001-31-2019_0.pdf.



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       124.    In October 2020, members of the Sackler family entered a $225 million civil

settlement with the DOJ for knowingly causing the submission of false and fraudulent claims to

federal health care benefit programs. As part of that resolution, the DOJ found that:

       from at least 2013 through 2018, Purdue developed an aggressive marketing
       program that focused on detailing over 100,000 doctors and nurse practitioners
       nationwide each year, including thousands of prescribers that the Named Sacklers
       knew or should have known were prescribing opioids that were not always for a
       medically accepted indication; were sometimes unsafe, ineffective, and medically
       unnecessary; and that were sometimes diverted for uses that lacked a legitimate
       medical purpose. By 2013, Purdue intensified its detailing of the very highest-
       volume prescribers, i.e., those writing “25 times as many OxyContin scripts” as
       their similarly situated peers, because Purdue and the Named Sacklers knew that
       Purdue’s detailing was highly effective in causing these prescribers to write more
       prescriptions for Purdue’s opioids. This strategy, referred to as the “Evolve to
       Excellence” or “E2E” program, was approved by the Named Sacklers.59

       125.    In February 2021, McKinsey settled allegations brought by 53 U.S. states and

territories that McKinsey had violated states’ consumer protection laws, including by developing

“Evolve 2 Excellence,” also known as “E2E”: a marketing plan to “focus sales calls on high-

volume opioid prescribers, including those who wrote as many as 25 times as many OxyContin

scripts as their lower volume counterparts.”

       126.    Despite knowing about Purdue’s 2007 guilty plea for felony misbranding, Publicis,

like McKinsey, worked with Purdue to target prolific prescribers and it provided the strategic

backbone of OxyContin marketing operations including E2E. Even as opioid overdose deaths

across the country soared, Publicis worked diligently to advance E2E and the scheme to further

increase OxyContin sales, as described herein.




59
    Addendum A to Settlement Agreement, ¶¶4-5, In re Purdue Pharma L.P., No. 19-23649-rdd
(Bankr. S.D.N.Y. Nov. 18, 2020), ECF No. 1828-3, https://www.justice.gov/opa/press-
release/file/1329736/download.



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               1.     Publicis Targets Prolific Prescribers

        127.   Publicis, like Purdue and McKinsey, divided prescribers into deciles and ranked

them by total number of OxyContin prescriptions written by each prescriber. Publicis used this

ranking of prescribers in its OxyContin marketing plans to advise Purdue on how to target and

focus its marketing team’s efforts to get doctors to prescribe more OxyContin, to more patients, in

higher doses. Publicis knew that targeting and focusing on the highest decile prescribers would

maximize Purdue’s market opportunity, as high decile prescribers wrote many times the number

of OxyContin scripts than lower decile prescribers. In its 2014 OxyContin Marketing Plan,

Publicis instructed Purdue to target prescribers who were new to prescribing OxyContin, but were

beginning to prescribe a lot of it, relative to their peers (high “new-to-brand” or “NBRx”

prescribers). Publicis wanted Purdue to focus its sales efforts by sending sales representatives to

both high-decile prescribers and “High-decile NBRx HCPs” up to three times a month to convince

prescribers to switch their patients to OxyContin.60




60
     2014-03-19 OxyContin Tablets: Annual Marketing Plan, PUBLICIS-0048894 at -911.



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       128.   In planning for 2015, one of Publicis’ main goals was to help Purdue meet its

aggressive budget for OxyContin sales by increasing “new patient starts.” Publicis worked with

Purdue’s sales representatives to retain new patients by devising messages and strategies to get

prescribers to switch patients on immediate-release oxycodone to extended-release OxyContin.61




61
   2014-11-14 email from Jonathan Gough, PUBLICIS-0049335, attaching presentation,
OxyContin 2015 Tactical Planning, PUBLICIS-0049336, at slide 3.



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       129.    For 2015, Publicis advised Purdue that focusing on prolific prescribers would be a

$1.3 billion opportunity.62




62
   2014-11-14 email from Jonathan Gough, PUBLICIS-0049335, attaching presentation,
OxyContin 2015 Tactical Planning, PUBLICIS-0049336, at slide 2.



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                2.     Publicis Seeks to Influence No-See Prescribers

        130.    That same year, Publicis added prescribers in “no-see” hospitals63 to Purdue’s top

priority group of prescribers for OxyContin marketing. Publicis worked with Purdue to target

prescribers at these large no-see hospitals and treatment groups, sometimes called “integrated

delivery networks” or “IDNs” as an untapped marketing opportunity. Publicis worked with Purdue

on the design and implementation of call centers to dial prescribers at no-see IDNs and convince

them to prescribe OxyContin, as well as other tactics to reach targets that Purdue sales

representatives could not. Publicis developed a web-based virtual presentation for call center

operators to use in “HCP education” and out-reach, including the principles of the Reassess At

Every Step campaign, designed to get prescribers to put patients on higher and higher doses of


63
     Hospitals where pharmaceutical sales representatives are prohibited.



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OxyContin, and savings cards, designed to keep patients on OxyContin for longer and longer

periods of time. Publicis also continued to promote OxyContin by emails to prescribers and to

track how prescribers at each hospital responded to its marketing.

       131.    In 2015, after Publicis shadowed Purdue sales representatives promoting opioids to

doctors, Publicis recommended that Purdue develop a new handout for doctors that would help to

identify which portions of their patient populations were eligible for additional insurance

programs. Publicis also further engaged it targeted email campaigns by sending messages both to

an overall list of “OxyContin Targets” and to “Smaller Sublists (including state specific HCPs).”

Publicis’ ability to directly market to its intended targets – with its ability to drive up opioid

prescriptions – was what Publicis sold to Purdue.

               3.      Publicis Aims to Increase Prescribers by Targeting Nurse
                       Practitioners and Physician Assistants

       132.    Publicis understood that to increase prescriptions it would need to target more than

doctors and so it took to targeting everyone with access to a prescription pad including nurse

practitioners and physician assistants (“NPs” and “PAs,” respectively). Publicis emphasized that

NPs and PAs would play an important role in continuing to drive more and higher dose OxyContin

scripts. Publicis would later exclaim that these efforts led to a significant increase in additional

prescriptions for Purdue’s drugs within the first 12 months of deployment.

       133.    In 2017, NPs and PAs continued to be a focus of Publicis’ marketing plan for

Purdue because Publicis knew that, even as OxyContin scripts were declining overall, NPs and

PAs were growing provider segment that could help offset some of the decline from PCPs.

Publicis pushed Purdue to contract with its Publicis Touchpoint Solutions agency to deploy clinical

nurse educators “trained on the Purdue sales force platform for integrated call planning and

tracking” to target NPs and PAs on opioid prescribing, “help [them] understand and implement”



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treatment plans, and overcome challenges to patient adherence. Publicis knew that patient

adherence was about keeping patients on OxyContin for longer and longer.                   Publicis’

recommendation that Purdue hire Publicis Touchpoint Solutions was also consistent with its Power

of One approach.64

       134.    For years, Publicis relied on its strategy of focusing on prolific prescribers,

including NPs and PAs, to continue to increase OxyContin sales. “Over 10 years, Purdue made

63,445 sales calls to nurse practitioners, more than to any other single specialty, and an additional

20,704 sales calls to PAs.”65

       135.    As awareness of the opioid epidemic grew, Publicis refined its targeting to focus

on prolific prescribers it believed would continue to prescribe OxyContin. Publicis categorized

these prescribers as “motivated believers” and “brand loyalists.” Publicis’ defined “motivated

believers” as prolific prescribers, individuals who were convinced that opioid medication is

essential to the treatment of the chronic pain patients and that to deny access to such medication

was inhumane.     These prescribers believed and recognized OxyContin as a leading FDA-

recognized Opioid with Abuse Deterrent Properties. These “motivated believers” were not alone

and their beliefs were only further supported by articles like those published by the AMA JOURNAL

OF ETHICS, which applauded Purdue for its abuse deterrent reformulation of OxyContin.66 “Brand



64
    PUBLICIS GROUPE, 2015 Registration Document, Annual Financial                            Report,
https://www.publicisgroupe.com/sites/default/files/investors-document/8019-en.pdf.
65
    Kristi L. Nelson, Purdue targeted nurse practitioners, PAs, but doctors had to sign off on all
prescriptions,           KNOX            NEWS              (Aug.            18,            2018),
https://www.knoxnews.com/story/news/health/2018/08/19/opioid-epidemic-lawsuit-purdue-
pharma-oxycontin/1016809002/.
66
   See Gary M. Reisfield, M.D., OxyContin, the FDA, and Drug Control, AMA J. OF ETHICS (Apr.
2014),      https://journalofethics.ama-assn.org/article/oxycontin-fda-and-drug-control/2014-04
(“Purdue Pharma, the manufacturer of OxyContin, seems to have produced a success, and the
FDA’s decision to not accept abbreviated new drug applications for generics based on the original


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loyalists” were prolific prescribers who would stick with OxyContin despite the climate of growing

concern over its abuse potential. Publicis targeted both groups with marketing materials that

validated their prescribing behaviors, helped them to overcome concerns about the abuse potential

of Purdue’s drugs, and created a cohort of very profitable prescribers who would stick with Purdue

despite the increasing pressures and concerns over the growing opioid epidemic.

        136.    In a creative attempt to reach additional prescribers, Publicis began to work with

regulators on their own opioid marketing campaigns. In 2018, Razorfish Health (Publicis)

partnered with the CDER to design the “Search and Rescue” campaign, to make innovative “use

of optimized search and direct email to reach family physicians, physician assistants and nurse

practitioners, and in states with the highest opioid prescribing rates.”67 By sticking with Purdue

while engaging prescribers, Publicis knew and intended these prescribers to prescribe more

OxyContin.

                4.      Publicis Goes Beyond Purdue to Grow the Opioid Market

        137.    Seeking to expand the class of drugs of prescription opioids, Publicis engaged in

“unbranded” marketing. While “unbranded” opioid marketing would not promote a particular

brand of opioid, it would promote prescription opiates as a class worthy of ever increased

prescription, and Publicis was great at it.

        138.    If one thinks of the entire opioid market as a pie, each individual brand (as well as

generic formulations) would comprise individual slices. Crucially, even if an individual product’s




OxyContin formula appears to have rewarded Purdue’s effort. Perhaps the OxyContin decision
will serve as an incentive for other opioid manufacturers to pursue abuse-deterrent features for
their most powerful opioids”).
67
     See Feliz, supra n.41.



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market share does not change, that portion can grow in value if the entire market grows. The

larger the pie, the larger the slice.

        139.    The long-term goal was to “make the whole pie bigger, not only for us, but for our

competitors as well,” a Purdue executive explained in a 2000 speech.68

        H.      Publicis’ Efforts Extended OxyContin’s Lifespan and Exponentially
                Expanded the Opioids Epidemic

        140.    Purdue and the Sacklers got what they wanted out of Publicis. Between the years

of 2010 through 2019, Purdue was able to continue selling OxyContin despite a guilty plea, despite

restrictions in a Corporate Integrity Agreement, and despite growing public awareness and concern

over the dangers of opioid prescriptions. Publicis played a vital role in managing Purdue’s image

and training its sales representatives to proceed with Purdue’s sales objective overcoming

objections, bad publicity, and warnings from the CDC. In almost a decade of service to Purdue

and the Sacklers, Publicis assisted in distributing enormous profits to Purdue and the Sacklers.

        141.    These distributions would not have been possible without Publicis’ work to

increase OxyContin sales.

        142.    With Publicis’ counsel and collaboration, OxyContin would reach its all-time peak

in 2013.69 Notwithstanding a decline in OxyContin sales given the increase awareness related to

the opioid epidemic Publicis efforts added a boost to OxyContin sales and proliferated the




68
   Sari Horwitz, et al., Inside the opioid industry’s marketing machine,” WASH. POST (Dec. 6,
2019), https://www.washingtonpost.com/graphics/2019/investigations/opioid-marketing/.
69
    Phil McCausland & Tracy Connor, OxyContin maker Purdue to stop promoting opioids in light
of epidemic, NBC NEWS (Feb. 10, 2018), https://www.nbcnews.com/storyline/americas-heroin-
epidemic/oxycontin-maker-purdue-stop-promoting-opioids-light-epidemic-n846726.



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prominence of OxyContin until its eventual unraveling in 2018, and Purdue’s decision, in the end,

to cease marketing the drug.70

           I.     Publicis Knew

           143.   In May 2015, Publicis staff Ceniza, Linda Ketchum-Pompili (“Ketchum-Pompili”),

and Bruce Rinderman (“Rinderman”) had extraordinary correspondence about OxyContin and

opioid use disorder.       Ceniza, Ketchum-Pompili, and Rinderman were designing marketing

messages about how the new crush-resistant formulation of OxyContin reduced opioid use

disorder, and planned to use the results of the National Survey on Drug Use and Health on illicit

drug use among persons aged 12 or older for years 2002-2013 to support Publicis’ prospective

claims about the crush-resistant formulation. But Rinderman wrote Ceniza in alarm, attaching the

National Survey data with his annotations in red. “Am I missing something or is there no story

here?” he wrote, adding, “Please take a look at my markups (attached) and let’s chat when you

have a sec.” The data clearly indicated that the number of persons using OxyContin illicitly

continued to climb even after Purdue launched its crush-resistant reformulation in 2010. Ceniza

replied to Rinderman:

           Ugh – no you’re right. I was trying to figure out if maybe the % of OXC to overall
           illicit use of pain killers went down, but it didn’t. Maybe we can set up some time
           with Linda to talk through possible angles since she did a lot of leg work on lit
           search? Even if we can’t find the data, we can craft the message and tell the Brand
           team what we WANT to say and see if their Medical Services group can come up
           with anything to support it?71




70
     Id.
71
     2015-05-04 email from Ceniza, PUBLICIS-0161669.



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       144.    Publicis understood that the reformulation did not reverse the trend of increasing

opioid use disorder from OxyContin. Notwithstanding, the FDA’s CDER 2015 Guide for Industry

findings that “these technologies [referring to opioid abuse deterrent products] have not yet proven

successful at deterring the most common form of abuse – swallowing a number of intact capsules

or tablets to achieve a feeling of euphoria[,]”72 Publicis continued to market OxyContin with

schemes designed to overcome prescribers’ objections about the risk of abuse.73 In 2017, Publicis



72
   Abuse-Deterrent Opioids – Evaluation and Labeling, Guidance for Industry, U.S. DEP’T OF
HEALTH & HUMAN SERVS. (Apr. 2015), https://www.fda.gov/files/drugs/published/Abuse-
Deterrent-Opioids-Evaluation-and-Labeling.pdf.
73
    See infra ¶107. In September 2020, an FDA advisory committee overwhelmingly panned the
idea that Purdue Pharma’s ADF of OxyContin “meaningfully reduced” overall opioid use disorder,
overdose, and death. Only two of the 28 members of the FDA’s Drug Safety and Risk Management
and Anesthetic and Analgesic Drug Products advisory committees voted “yes” on whether the
reformulated OxyContin lessened overall abuse since it was introduced in 2010. Twenty-six
members of the panel also rejected the idea that the ADF version had a substantial impact on
overdose rates. Amanda D’Ambrosio, FDA Panel: Reformulated OxyContin Did Not Reduce
Overall         Abuse,         MEDPAGE          TODAY          (Sept.        11,       2020),
https://www.medpagetoday.com/publichealthpolicy/opioids/88583.



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staff persisted despite knowing that epidemiologic studies might showed that nothing in the ADF

for OxyContin would lead to reduced abuse, misuse and/or diversion in the community.74

                1.     Guilty Again

        145.    On October 20, 2020, Purdue, who had followed Publicis’ advice and

recommendations, agreed with the DOJ to plead guilty to improper marketing of OxyContin and

other opioids again. This time Purdue’s plea agreement concerned conduct from 2010 to 2018,

exactly the time Publicis began working with Purdue.

        146.    Purdue agreed to plead guilty to a dual-object conspiracy to defraud the United

States and to violating the Food, Drug, and Cosmetic Act, 21 U.S.C. §§331, 353, violating anti-

kickback laws, and using aggressive marketing tactics to convince doctors to unnecessarily

dispense frivolous opioid prescriptions, as related to its opioid sales and marketing practices after

the 2007 guilty plea. Essentially, Purdue pleaded guilty to helping fuel, if not create, the

prescription drug addiction crisis that has plagued our country for the last three decades.

        147.    While the new plea agreement does not identify Purdue’s co-conspirators, and

Publicis was not identified by name in the plea agreement, Purdue’s new guilty plea explicitly

concerns conduct that directly implicates Publicis in the conspiracy. Indeed, it is the same conduct

described in this Complaint.

        148.    Further, Purdue admitted that E2E – a program that Publicis aided in “was overseen

by [McKinsey] and some of Purdue’s top executives through the creation of the E2E Executive

Oversight Team (“EOT”) and Project Management Office (“PMO”).” While McKinsey created

the E2E strategy, Publicis aided and worked with Purdue to increase its implementation to increase

OxyContin sales.


74
     See infra ¶136.



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V.      PUBLICIS’ WORK WITH OTHER OPIOID MANUFACTURERS

        149.    During the pendency of its long-term relationship with Purdue, and their joint

efforts to grow the overall opioid market, Publicis also sought to use its opioid experience to

expand its own client base. Publicis partnered with Endo,75 Teva,76 Janssen,77 and others to market

those clients’ opioid brands. While it sought to grow the overall pie, Publicis also endeavored to

grow each slice. It sought opioid market expansion from both angles. And, in doing so, it deployed

many of the same tactics, at the same time, for numerous competing opioid brands.

        150.    The strategies and campaigns may appear redundant, as the marketing strategies

and campaigns Publicis promoted for its various opioid manufacturing clients all followed similar

patterns. But, Publicis was the common denominator.

        A.      ENDO

        151.    Publicis (d/b/a Saatchi & Saatchi) was the Agency of Record for Opana, Endo’s

brand of oxymorphone. With the legacy assets of Percodan and Percocet,78 Endo’s business had

always been focused on opioid sales. Oxymorphone is not a new opioid, and Opana was not

Endo’s first oxymorphone product. Oxymorphone was first synthesized more than a century ago

in Germany, and in 1959 Endo began selling it in the United States under the name Numorphan.




75
   “Endo” refers collectively to Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; and
Endo International plc.
76
  “Teva” refers to collectively to Teva Pharmaceutical Industries Ltd. and Teva Pharmaceuticals
USA, Inc.
77
     “Janssen” refers to Janssen Pharmaceuticals, Inc.
78
   Our Story, ENDO, https://www.endo.com/about-us/history#fragment-26 (last visited Mar. 8,
2024).



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        152.    Numorphan was referred to as “blues,” after the color of the 10 mg pills. According

to some, it delivered a more euphoric high than heroin. In 1974, the National Institute on Drug

Abuse noted in its “Drugs and Addict Lifestyle” report that Numorphan was popular as an abused

drug for its quick and sustained effect.79 In 1979, Numorphan was withdrawn from the market.

        153.    In 2006, Endo launched its own “new set” of branded oxymorphone products,

Opana and Opana ER.80 Opana was the same molecule as Endo’s older oxymorphone product,

Numorphan.

        154.    With the launch of Opana, Endo decided it was time for history to repeat itself.

After the FDA’s approval of Opana in 2006, Endo solidified its position as a pain specialist among

manufacturers. By 2012, opioid sales accounted for approximately $403 million of Endo’s $3

billion in revenue, almost 14%. Between 2010 and 2013, total Opana ER revenue alone exceeded

$1.1 billion.

        155.    Opana and Numorphan were both oxymorphone. The brand name was the only

thing that changed. What Endo removed from the market in 1979 due to abuse concerns, it re-

introduced 27 years later. After 2006, Opana was on occasion referred to as “Blue Heaven” or,

more to the point, “New Blues.”81

        156.    Within a few years of its introduction in the United States, abuse of the drug became

widespread. Endo then sought to introduce a reformulated version of Opana that it could market

as abuse-deterrent by introducing a tamper-resistant coating to the pill.


79
   John Fauber & Kristina Fiore, Abandoned Painkiller Makes a Comeback, MEDPAGE TODAY
(May 10, 2015), https://www.medpagetoday.com/psychiatry/addictions/51448.
80
     Our Story, supra n.78.
81
    Oxymorphone,         DRUG         ENFORCEMENT       ADMIN.                  (Nov.         2022),
https://www.deadiversion.usdoj.gov/drug_chem_info/oxymorphone.pdf.



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       157.     In December 2011, Endo obtained FDA approval for a new formulation of Opana

ER with a coating that Endo claimed was crush-resistant, calling it “INTAC” technology.

However, the following month, the FDA told Endo that Opana ER, could not be marketed even

after the reformulation, as abuse-deterrent.

       158.     Endo “did not submit any new clinical safety or efficacy data” as part of its

application, but rather relied entirely on the “bioequivalence” of the new and old formulations of

Opana.82 Obtaining approval of reformulated Opana ER on this basis allowed Endo to rely on the

safety and efficacy of the original version of the drug as the basis for approval of the reformulated

version. However, the FDA determined that such promotional claims could provide a false sense

of security since the product could still be chewed and ground for subsequent use. In other words,

Opana ER was still crushable. In December 2011, Endo admitted that “[i]t has not been established

that this new formulation of Opana ER is less subject to misuse, abuse, diversion, overdose, or

addiction.”83

       159.     Of course, these characteristics that Endo, and later Publicis, promoted as part of

Opana ER, did not exist. While the reformulation was designed to prevent the pill from being

crushed and snorted, it did nothing to prevent intravenous use. However, once Endo reformulated




82
    Intervenor Impax Laboratories, Inc.’s (1) Cross-Motion to Dismiss; or, in the Alternative, (2)
Opposition to Plaintiff’s Motion for a Preliminary Injunction, Endo Pharms. Inc. v. U.S. Food &
Drug Admin., No. 1:12-cv-01936 (D.D.C. Dec.9, 2012), ECF 18, at 7; see also Summary Review
for Regulatory Action, FDA CENTER FOR DRUG EVALUATION AND RESEARCH, NDA 201655, at 6
(Dec. 9, 2011) (stating that “[n]o new safety data were included in this submission” and “[n]o
efficacy        studies        were         submitted         in       this        application”),
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2011/201655Orig1s000SumR.PDF.
83
    Endo Announces FDA Approval of a new Formulation of Opana® ER Designed To Be Crush-
Resistant, ENDO (Dec. 12, 2011), https://investor.endo.com/news-releases/news-release-
details/endo-announces-fda-approval-new-formulation-opanar-er-designed.



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Opana to have a crush resistant coating, many users who were already dependent on the drug began

to inject drugs for the first time.84

           160.   Endo’s   2012     reformulation   of   Opana   caused   outbreaks   of   human

immunodeficiency virus (“HIV”) in populations of intravenous Opana users. In Austin, Indiana,

Opana use led to an outbreak of at least 200 HIV cases in a town with a population of 4,500.85

           161.   Intravenous use of reformulated Opana has also been associated with outbreaks of

Hepatitis C and Thrombotic Thrombocytopenic Purpura (“TTP”). 86 The concerns even reached

Wall Street, where investors asked Endo about a TTP outbreak in Tennessee associated with Opana

ER. Endo’s chief scientific officer, Ivan P. Gergel, assured the investors that Endo had “designed

the Opana crush-resistant formulation to be crush-resistant, to avoid primarily the nasal root of

abuse[.]”87 Gergel went on to say that the outbreak was, like the outbreak in Indiana, in “a very,

very distinct area of the country.”88




84
    See Kelly McEvers, Opioid Epidemic Sparks HIV Outbreak In Tiny Indiana Town, NPR (Mar.
31, 2016), https://www.npr.org/2016/03/31/472577254/opioid-epidemic-sparks-hiv-outbreak-in-
tiny-indiana-town.
85
     Id.
86
    Thrombotic Thrombocytopenic Purpura (TTP)–Like Illness Associated with Intravenous
Opana ER Abuse – Tennessee, 2012, MORBIDITY & MORTALITY WEEKLY REP. (Jan. 11, 2013),
https://www.cdc.gov/mmwr/pdf/wk/mm6201.pdf.
87
    Tom Dreisbach, How A Painkiller Designed To Deter Abuse Helped Spark An HIV Outbreak,
NPR (Apr. 1, 2016), https://www.npr.org/sections/health-shots/2016/04/01/472538272/how-a-
painkiller-designed-to-deter-abuse-helped-spark-an-hiv-outbreak.
88
     Id.



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       162.    In addition to its branded products, Endo, through its subsidiaries Qualitest

Pharmaceuticals, Inc. and, after its acquisition in 2015, Par Pharmaceuticals,89 also manufactured

generic versions of oxycodone, oxymorphone, hydromorphone, and hydrocodone.

       163.    Ultimately, Endo and Publicis were laser-focused on maximizing the overall sales

of Endo products, and decidedly not on concerns over their actual abuse potential or the

appropriate size of the market for these products, given evident, longstanding, and ever-present

concerns about their abuse. Both Publicis and Endo desired for the size of the overall opioids

market to grow in line with the introduction of “differentiated” products like a reformulated Opana,

as the so-called “differentiation” gave Publicis an opportunity to market something new about the

product regardless of whether or not the new characteristic was actually good for patients.

       164.    Endo’s actual intentions to simply maximize its profits through Opana sales, despite

the likely abuse of its drugs, were clear, given Endo’s particularly striking decision: to continue to

sell the old formulation of Opana despite promoting a message that its new formulation dispensed

with the purportedly dangerous characteristics of the old formulation.

       165.    In fact, Endo continued to distribute original Opana for nine months after its

reformulated version became available, and it declined to recall original Opana ER despite its

known dangers.

       166.    Later in 2017, Endo would again remove its oxymorphone product from the market

at the request of the FDA, given the FDA’s acute concerns regarding Opana’s abuse potential.




89
  “Par Pharmaceuticals” refers collectively to Par Pharmaceutical, Inc. and Par Pharmaceutical
Companies, Inc.



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        167.    In 2018, Publicis boasted about its new work for Endo as one of the “[m]ain wins”

of its new business that year. 90 However, Publicis’ relationship with Endo dated back more than

ten years.

                1.     Publicis Targets Patients and Targets Prescribers

        168.    Publicis replicated the targeting work it had done for Purdue for its other clients as

well, and Endo was no exception.

        169.    In 2007, Publicis (then Saatchi & Saatchi) came up with a new marketing angle that

relied on the Joint Commission on Accreditation of Healthcare Organizations’ (“JCAHO”) recent

adoption of pain as “the fifth vital sign.” 91 Hospitals were then required to assess and treat

patients’ pain as a matter of course.92 JCAHO had “mandated that hospitals poll each of their

patients at the end of their stay about whether their pain had been adequately treated.”93




90
    See Accelerated Transformation and Record Year, Both Commercially and Financially,
PUBLICIS GROUPE (Feb. 6, 2019), https://www.publicisgroupe.com/en/news/press-
releases/publicis-groupe-2018-annual-results.
91
     JCAHO has since abandoned its use of “pain” as one of the five vital signs.
92
     Horwitz, supra n.68.
93
    Melina Sherman, Opiates for the masses: constructing a market for prescription (pain)killers,
at       4,      J.       OF       CULTURAL          ECON.        (July        16,       2017),
https://www.tandfonline.com/doi/full/10.1080/17530350.2017.1352010.



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           170.   The scores that hospitals received were extremely important to hospitals seeking to

maintain their accreditation. “A low score puts a hospital in jeopardy of being ruled ineligible for

Medicaid reimbursements.”94

           171.   Publicis approached prescribers with a simple idea: prescribe Opana, and you won’t

have to worry about low JCAHO scores. “[I]t suffices to say that this system incentivizes the use

of drugs – as reliable, fast-acting methods for (temporarily) warding off the experience of pain. It

is telling, after all, that the uptake of these new systems and instruments of objectively measuring

the subjective experience of pain have paralleled steep increases in opioid prescriptions.”95

           172.   In 2013, Publicis advised Endo to direct its key opinion leaders (“KOLs”) to

instruct prescribers that Opana ER with INTAC was the only oxymorphone designed to be “crush-

resistant,” and advised them to state during their speeches that the only way for patients to receive


94
     Id.
95
     Id.



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a crush resistant formulation of oxymorphone ER was to prescribe Opana ER with INTAC. The

KOLs were advised to stress that the generic versions of Oxymorphone were not designed to be

crush-resistant.

       173.    With respect to Opana ER’s 12-hour dosing, the Federal Trade Commission

observed in a complaint against Endo, “compared with immediate-release oxymorphone

formulation, oxymorphone ER provides longer-lasting, 12-hour pain relief that allows the patient

to take fewer pills each day.” Of course, the problem, was that “in order to reduce dose frequency,

each long-acting opioid carries more active pharmaceutical ingredient than its short-acting

counterpart. This makes long-acting opioids such as Opana ER subject to abuse; crushing and

ingesting the pills immediately releases the larger amount of active ingredient into the

bloodstream.”96

       174.    The higher dosage in Opana ER, along with the “crush-resistant” formulation that

Publicis was promoting only helped to make the drug more susceptible to intravenous use by those

suffering with addiction and opioid use disorder.

               2.     Endo’s Broader Relationship with Publicis Groupe

       175.    Saatchi & Saatchi was not the only Publicis entity who developed a strong working

relationship with Endo.     For example, during 2012, Endo engaged other Publicis Groupe

subsidiaries to work to develop methods to switch patients from drugs like Vicodin to long acting

opioids like Opana ER and to further expand the use of Endo’s opioid drugs.




96
    See Complaint for Injunctive and Other Equitable Relief, at ¶57, FTC v. Endo Pharms., Inc.,
No.           1:21-cv-217-RCL             (D.D.C.            Jan.           25,        2021),
https://www.ftc.gov/system/files/documents/cases/003_2021.03.02_revised_redacted_complaint.
pdf.



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       B.      TEVA

       176.    Until 2023, Teva, another opioid manufacturer named in numerous lawsuits for its

role in the opioid crisis, was led by President and CEO and McKinsey alumnus, Kåre Schultz

(“Schultz”). Schultz joined the company in 2017, at which point he was also appointed to Teva’s

board of directors.97

       177.    By 2011, Teva had acquired Cephalon, Inc. (“Cephalon”), another manufacturer of

opioids, as “[a] core part of [Teva’s] strategy” of “growth through acquisitions[.]”98 After it

acquired Cephalon, – Fentora’s original manufacturer – Teva began selling Fentora, a powerful

fentanyl buccal tablet.99 The fentanyl medication was authorized by the FDA in 2006 for its

limited use in the treatment of breakthrough pain in cancer patients receiving opioid treatment and

who had developed a tolerance to it.100 Two years later, the FDA would note the increase of “off-

label prescribing”101




97
     Gretchen Morgenson, Consulting giant McKinsey allegedly fed the opioid crisis. Now an
affiliate may profit from treating addicts, NBC NEWS (Feb. 8, 2021),
https://www.nbcnews.com/news/us-news/consulting-giant-mckinsey-allegedly-fed-opioid-crisis-
now-affiliate-may-n1256969.
98
    Teva Pharmaceutical Industries Limited, Form 20-F, at 8 (Dec. 31, 2012),
https://www.sec.gov/Archives/edgar/data/818686/000119312514041871/d649790d20f.htm.
99
    See Teva Completes Acquisition of Cephalon, FIERCE PHARMA (Oct. 14, 2011),
https://www.fiercepharma.com/pharma/teva-completes-acquisition-of-cephalon.
100
    See Fentanyl Buccal Tablets (marketed as Fentora) Information, U.S. FOOD & DRUG ADMIN.
(July 15, 2015), https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
providers/fentanyl-buccal-tablets-marketed-fentora-information.
101
   Memorandum from Bob A. Rappaport, MD to the Anesthetic and Life Support Drugs Advisory
Committee (Apr. 26, 2008), In re Nat’l Prescription Opiate Litig., No. 1:17-md-02804-DAP (N.D.
Ohio (Aug. 13, 2019), ECF 2231, at 1.



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          178.    The FDA, in an April 26, 2008, memorandum discussing the possibility of an

“expanded indication for Fentora for use in break-through pain in patients with chronic pain not

caused by malignancy,” expressed concern about Fentora’s active ingredient, fentanyl, and the

growing misuse of opioids despite the safeguards already put in place by the FDA:

          Fentanyl has an extremely narrow therapeutic window, and even in opioid tolerant
          patients misuse and errors in dosing can result in significant morbidity and
          mortality. Exposure to minute quantities of fentanyl in opioid non-tolerant people,
          especially children and the elderly, can be lethal in minutes. If this product is to be
          indicated for increased widespread use, and if availability increases, a risk
          mitigation program that will attempt to prevent, monitor and intervene when
          necessary, will be essential. However, as already noted, the current paradigms for
          risk management for potent opioid drug products may not have been fully
          successful.102

          179.    Consistent with Dr. Rappaport’s concerns, on December 28, 2011, the FDA

mandated a Risk Evaluation and Mitigation Strategy for Fentora and other Transmucosal

Immediate Release Fentanyl.103

          180.    In 2013, with Publicis’ acquisition of Heartbeat Ideas, 104 Teva joined the ranks of

Publicis’ opioid manufacturing clients and also availed itself of Publicis’ myriad services.

          181.    Because of its client relationships, Publicis was in a unique position to know how

each opioid manufacturer’s sales and marketing tactics were playing out, both in terms of ROI for




102
      Id. at 2.
103
   See Questions and Anwers: FDA approves a class Risk Evaluation and Mitigation Strategy
(REMS) for transmucosal immediate-release fentanyl (TIRF) medicines, U.S. FOOD & DRUG
ADMIN. (Dec. 28, 2020), https://www.fda.gov/drugs/information-drug-class/questions-and-
answers-fda-approves-class-risk-evaluation-and-mitigation-strategy-rems-transmucosal.
104
    Publicis Groupe Expands Digital Health Expertise, Heartbeat Ideas and Heartbeat West to
Join Saatchi & Saatchi Health Agencies in U.S., PUBLICIS GROUPE (Oct. 30, 2013),
https://www.publicisgroupe.com/sites/default/files/press-release/prz2tt2.pdf.



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their individual clients and market performance of their branded opioid products. Publicis knew

it all and knew it in real time.

            C.     JOHNSON & JOHNSON/JANSSEN

            182.   Arista Marketing Associates, Inc. (“Arista”) was a Publicis company eventually

folded in to Publicis Touchpoint Solutions. Arista specialized in “multichannel physician access

above and beyond face-to-face detailing.”105 “We create live conversations with physicians and

other healthcare professionals, ranging from 2-minute teledetails to 12-minute web-based video

details[,]” Arista explained.106

            183.   Nucynta was Janssen’s branded tapentadol product. Nucynta was first approved as

a Schedule II controlled opioid agonist tablet and oral solution in 2008 and indicated for “relief of

moderate to severe acute pain in patients 18 years of age or older.”107

            184.   In fact, Scott Dreyer (“Dreyer”), who served as Vice President of Hospital and

Oncology Sales and later Vice President of Primary Care Sales for Publicis Touchpoint Solutions,

a subsidiary of Publicis Groupe, would later become Janssen’s executive Vice President and Chief

Commercial Officer in 2018.

            185.   Coincidentally, in 2013, while Dreyer was with Publicis Touchpoint Solutions,

Janssen and Publicis (d/b/a Razorfish Health) would be recognized as 2012’s “Best in Benchmark”

consumer and healthcare professional digital marketing performance in the category of Healthcare




105
    Arista Marketing Associates Rolls Out Multichannel Physician Access Program for Leading
Pharma Co., PRLOG (June 11, 2009), https://www.prlog.org/10256062-arista-marketing-
associates-rolls-out-multichannel-physician-access-program-for-leading-pharma-co.html.
106
      Id.
107
      Nucynta, RXLIST (Jan. 9, 2024), https://www.rxlist.com/nucynta-drug.htm.



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Provider Website Visit Volume for their work on the Nucynta campaign.108 It was clear that

Publicis was in the game and doing its best to push for increase opioid sales for all of its opioid

manufacturing clients.

            186.   In 2013, recognizing the revenue potential that pharmaceutical companies provided

to marketing and advertising agencies, Med Ad News reported that in 2012, Johnson & Johnson

spent $58,336,625 in direct–to-consumer advertising while Teva spent $49,768,660.109 Both

companies demonstrated growth in their advertising budgets but while Johnson & Johnson’s

expenditure grew by 4%, Teva’s grew by 64% from 2011.110 These advertising budgets were

indicators that manufacturers like Johnson & Johnson and Teva, were committed to growing their

markets and directly reaching consumers. With such attractive numbers, Publicis was going to

help get them to where they wanted to go.

            D.     Servicing All Manufacturers as a Group

            187.   Publicis did more than perform discreet work for individual opioid manufacturers;

it crafted industry-wide marketing efforts to boost sales not only of individual opioid products, but

of opioids generally. A rising tide lifts all boats. Or, to borrow the Purdue’s executive’s analogy,

Publicis worked to “make the pie bigger for all.”111




108
   Awards set the mark for pharma sites, MED AD NEWS (May 2013), https://pharmalive.com/wp-
content/uploads/2015/02/131682-MedAdNews-May.pdf.
109
      Id.
110
      Id.
111
      Horwitz, supra n.68.



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       188.    Accordingly, in addition to maintaining separate client relationships with multiple

opioid manufacturers, Publicis also worked for industry-wide groups to coordinate marketing and

advertising related to opioids, generally.

       E.      Making Money off the Treatment - Publicis and Orexo AB

       189.    The cognitive dissonance within Publicis as it embarked upon its work with Purdue

on E2E must have been palpable. Three months after Publicis was working on OxyContin

coupons, Swedish pharmaceutical company Orexo AB (“Orexo”) announced that Zubsolv, its drug

designed to treat opioid addiction, had been approved by the FDA. Zubsolv is a combination of

buprenorphine and naloxone. When Zubsolv launched in 2013, Orexo projected peak sales of the

drug to exceed $500 million, annually.

       190.    However, Orexo did not have a significant presence in North America when

Zubsolv was approved. It did not have its own sales force in North America to market its drug.

As the most attractive market in which to sell opioid dependency treatments, Orexo desired to

partner with someone in the United States who had the expertise and capacity to successfully

launch Zubsolv.

       191.    On July 1, 2013, Orexo announced “that the company has entered into a commercial

partnership with Publicis Touchpoint Solutions for the launch of Zubsolv in the United States. . . .

Publicis Touchpoint Solutions will be responsible for the execution of all field-based promotion

activities through dedicated sales representatives and medical support to health care practitioners

through deployment of a dedicated medical scientific liaison team.”112



112
    Orexo Forms a Commercial Partnership with Publicis Touchpoint Solutions for launch of
Zubsolv™        in       the     US,        BUS.        WIRE       (July      1,   2013),
https://www.businesswire.com/news/home/20130701005515/en/Orexo-Forms-a-Commercial-
Partnership-with-Publicis-Touchpoint-Solutions-for-launch-of-Zubsolv-in-the-US.



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            192.   In announcing the partnership, Orexo CEO Nikolaj Sorensen emphasized Publicis’

“knowledge of the opioid dependence therapeutic area,” in addition to its expertise with “similar

product launches,” as primary reasons Orexo chose Publicis to be its partner.

            193.   As described in detail above, Publicis did indeed have expertise with similar

product launches. While its sales representatives in Publicis Touchpoint Solutions were diligently

selling Zubsolv for Orexo, Publicis worked just as diligently through its other agencies with other

opioid manufacturers to maximize the sales of the drugs that were the direct source of Zubsolv’s

indication. The same year it partnered with Orexo to launch Zubsolv, Publicis billed Purdue

Pharma around $8 million for marketing work on OxyContin and other Purdue opioid products.

            194.   Most incredibly, Publicis began work on Purdue and McKinsey’s E2E project less

than three months after its partnership with Orexo was announced.

            195.   Through its work with Orexo, Publicis gained knowledge of the market

opportunities created by widespread opioid dependency, and of the co-dependence of the markets

for opioid treatments and opioid use disorder treatments.

            196.   As Orexo, Publicis’ partner, described in its 2013 annual report, “[p]rescription

painkillers containing opioids are highly addictive, and regular or long-term use can lead to

physical dependence.” Orexo further observed that “[m]any abusers begin by taking opioids

orally,” 113 and that the misuse of opioid prescription drugs was a “[g]rowing problem[,]” with

“opioid . . . dependence more common than the abuse of, or dependence on, any other type of

prescription medication.”114



113
    Orexo, Annual Report 2013, at 10, https://mb.cision.com/Main/694/9557375/224609.pdf (last
visited Mar. 8, 2024).
114
      Id.



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            197.   Describing the addressable market for Zubsolv, Orexo stated that the “cost of

prescription opioid abuse, dependence and misuses in the US is estimated to exceed USD 56 billion

per year,” and further, that “15,000 people die from opioid pain relievers each year in the US.

Deaths from opioid pain relievers exceed those from all drugs and traffic accidents.”115

            198.   The solution to the opioid crisis seemed all too clear:

            Zubsolv has entered a large and growing market. The current US market of
            products containing buprenorphine/naloxone amounts to approximately USD 1.9
            billion, before rebates to payers, co-ay support and other discounts. The market
            continued to grow by 9 percent in value and 10 percent in volume during 2013.
            Continued double-digit growth is likely in the years to come, and will be driven by
            the significant unmet medical need, the growing number of opioid dependent
            patients as well as the impact of the Affordable Care Act.116

            199.   Publicis Touchpoint Solutions provided a contract sales force to Orexo through the

second quarter of 2014, and continued to advise Orexo on Zubsolv sales through at least 2019.117

            200.   By 2015, Orexo stated flatly, “[t]here is no doubt opioid addiction has become one

of the major health concerns in the US and a disease [that is] currently out of control.” 118 The

market for Zubsolv was booming, as it experienced an 83% increase in revenue over the prior

year.119

            201.   Throughout its time selling a treatment for opioid use disorder, Publicis worked on

all fronts, with multiple clients, to maximize the sales of opioids, the same drugs that caused the


115
      Id.
116
      Id.
117
    See Susan Broadnix, LINKEDIN, https://www.linkedin.com/in/susan-broadnix-8794bb7/ (last
visited Mar. 8, 2024).
118
    See Orexo, Annual Report 2015, at 4, https://mb.cision.com/Main/694/9942119/491960.pdf
(last visited Mar. 8, 2024).
119
      Id.



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condition that Zubsolv – another drug it was being paid to sell – treats. The synergies could not

have been more perfect. Publicis helped Orexo service a demand that it had a principal role in

creating, sustaining, and growing through its contemporaneous work with Purdue, Endo, Teva,

and Janssen, on E2E, and other projects. Indeed, without Publicis’ efforts promoting opioids for

its other clients, there may not have been such an attractive market for Zubsolv.

           202.   Publicis had its hand in hooking pain patients on opioid prescription drugs and

seeing its profits climb as more and more people got hooked on opioid prescriptions. Now it was

going to profit on the cure, as Publicis sold the pill to the same pain patients promising them a

comeback from their addictions.

VI.        TOLLING OF STATUTES OF LIMITATIONS

           203.   Publicis is equitably estopped from relying upon a statute of limitations defense.

Alongside Purdue, and other opioid manufacturers, Publicis undertook active efforts to deceive

Plaintiff and to purposefully conceal their unlawful conduct while it fraudulently assured the

public, including Plaintiff, that opioids were non-addictive, effective, and safe for the treatment

and care of long-term chronic pain and non-acute, non-cancer pain. For example, and without

limitation, Publicis concealed its efforts to help Purdue: (i) circumvent the restrictions of the

Corporate Integrity Agreement in order to increase the sale of opioids; and (ii) further boost the

sale of opioids after the expiration of the Corporate Integrity Agreement, including through

“Project Turbocharge” and “Evolve to Excellence.” Publicis never strayed from its goal of

continuing to increase sales, and greater access to prescription opioids to generate maximum

profits.

           204.   Publicis and Purdue were deliberate in taking steps to conceal their conspiratorial

behavior and active role in the deceptive marketing of opioids. Without any reliable scientific

evidence, Publicis’ deceptive marketing delivered false messages that opioids were safer, less


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subject to abuse, and less addictive than other pain medications. Publicis’ marketing omitted or

concealed material facts, and failed to correct prior misrepresentations and omissions about the

purported benefits and risks of opioids. Publicis’ false messages led to the oversupply of opioids

via overprescribing and suspicious sales and further fueled the opioid epidemic.

       205.    Discovery Rule. Publicis’ services were given confidentiality, and both Publicis

and Purdue concealed the content and extent of Publicis’ services from the public. In effect,

Publicis actively concealed its role in shaping, editing, provided false and misleading materials

and content regarding pain management and opioids that were widely distributed and circulated to

regulators, prescribers, and the public at large, including Plaintiff.        Plaintiff did not have

knowledge of the scope, magnitude, and unlawful nature of Publicis’ conduct until 2020, when

documents produced in the Purdue bankruptcy proceeding revealed details regarding Publicis’ in

advising Purdue and working with Purdue to implement the unlawful conduct and deceitful

marketing detailed in this Complaint. Information in the public domain was insufficient to place

Plaintiff and the Class on inquiry notice of Publicis’ unlawful, unfair, and deceptive activities prior

to 2020. For these reasons, any statutes of limitations applicable to the claims of Plaintiff and the

Class did not begin to run and have been tolled until at least some point in 2020.

       206.    Fraudulent Concealment. The statutes of limitation were further tolled by the

doctrine of fraudulent concealment. Publicis and Purdue also actively concealed from Plaintiff the

existence of the Plaintiff’s claims by hiding Purdue’s lack of cooperation with law enforcement.

For example, in May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction and entered into a Corporate Integrity Agreement explained above.

Purdue was ordered to pay $600 million in fines and fees. In its plea, Purdue admitted that its




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promotion of OxyContin was misleading and inaccurate, misrepresented the risk of addiction, and

was unsupported by science. Additionally, Michael Friedman, the company’s president, pled

guilty to a misbranding charge and agreed to pay $19 million in fines; Howard R. Udell, Purdue’s

top lawyer, also pled guilty and agreed to pay $8 million in fines; and Paul D. Goldenheim,

Purdue’s former medical director, pled guilty as well and agreed to pay $7.5 million in fines. But

even after the guilty pleas and the requirements of the Corporate Integrity Agreement, Purdue

continued to pay doctors on speakers’ bureaus to promote the liberal prescribing of OxyContin for

chronic pain and fund seemingly neutral organizations to disseminate the message, as designed by

Publicis, that opioids were non-addictive, as well as other misrepresentations. Publicis knew these

representations were false, and without knowledge of the truth and/or having no reasonable ground

for believing such assertions, recklessly devised and implemented a strategy to spread these

deceptive and misleading claims to health care providers, consumers, Plaintiff, the Class, and the

public in order to boost sales of opioids, including OxyContin, despite the public impression that

Purdue had corrected its conduct as a result of the Corporate Integrity Agreement.

       207.    Publicis and Purdue furthered the deception by seeking to convince the public that

Purdue’s primary concern was the health and safety of its patients, which it claimed via marketing

campaigns aimed at convincing the public that Purdue was working to curb the opioid epidemic.

Publicis helped Purdue to publicly portray itself as committed to working diligently to prevent

diversion of these dangerous drugs and curb the opioid epidemic. With Publicis’ help and

direction, Purdue made false claims that it had changed its ways and insisted it was a good

corporate citizen. Meanwhile, Publicis was also designing marketing campaigns and messaging

that continued business as usual and indiscriminately targeted high prescribers to promote opioids

as safe but avoiding the pitfalls of the Corporate Integrity Agreement.           These repeated




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misrepresentations misled regulators, prescribers, and the public, including Plaintiff, and deprived

Plaintiff of actual or implied knowledge of facts sufficient to put Plaintiff on notice of potential

claims.

          208.   Purdue also assembled an army of lobbyists to fight any legislative actions that

might encroach on its business. Between 2006 and 2015, Purdue and other painkiller producers,

along with their associated nonprofits, spent nearly $900 million dollars on lobbying and political

contributions – eight times what the gun lobby spent during that period. Publicis participated

extensively in these actions and provided Purdue with strategies and assistance to maximize sales

as described in this Complaint. Publicis knew that the actions it was taking with Purdue were

unlawful, yet it deliberately proceeded in order to increase Purdue’s sales and profits, and in turn

to serve its own financial interests.

          209.   Publicis’ fraudulent concealment prevented Plaintiff and the Class from

discovering the nature, scope, and magnitude of Publicis’ misconduct, and its full impact on

Plaintiff, until 2020, when documents produced in the Purdue bankruptcy proceedings revealed

details regarding Publicis’ role in advising Purdue to implement the unlawful and deceitful conduct

described in this Complaint. Without the document production in the bankruptcy proceeding,

Plaintiff could not have acquired such knowledge earlier through the exercise of reasonable

diligence.

          210.   Plaintiff reasonably relied on Purdue’s affirmative statements, as developed by

Publicis, and regarding Purdue’s purported compliance with its obligations under the law and

consent orders, all of which were false and only intended to save its public image. Plaintiff did

not know and did not have the means to know the truth, due to Publicis’ and Purdue’s actions and

omissions.




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        211.   Publicis’ fraudulent concealment has tolled the running of any statute of limitations.

Through its and Purdue’s affirmative misrepresentations and omissions, Publicis actively

concealed from Plaintiff the risks associated with opioids that led to the opioid crisis. Publicis’

wrongdoing, misrepresentations, and omissions have not ceased as the public nuisance remains

unabated.

VII.    HARM CAUSED TO PRIVATE PAYORS, INCLUDING PLAINTIFF AND
        CLASS MEMBERS

        212.   By increasing opioid prescriptions and use, Publicis fueled the opioid epidemic

alongside its clients. The deceptive marketing strategies developed and implemented by Publicis

worked, as described above, and substantially contributed to an explosion in the use of opioids

across the country. Approximately 20% of the population between the ages of 30 and 44, and

nearly 30% of the population over 45, have used opioids. Opioids are now the most common

treatment for chronic pain, and 20% of office visits now include the prescription of an opioid.

        213.   Publicis’ development and implementation of its strategy expanded Purdue’s and

other manufacturers’ role in selling and supplying opioids, even seeking to increase the sales from

prescribers who would have raised red flags of potential diversion, and profiting from Purdue’s

and other manufacturers’ role in funneling opioids into communities, beyond what any legitimate

market, even an expanded market for chronic pain, could bear.

        214.   Compounding the harm from deceptive marketing, Publicis worked with Purdue

and other manufacturers to continue and grow the opioid sales from prescribers that raised red

flags of diversion, despite manufacturers’ legal obligations to report and halt supply. In doing so,

it enabled an oversupply of opioids, which has allowed non-patients to become exposed to opioids,

and facilitates access to opioids for both patients who could no longer access or afford prescription

opioids and addicts struggling with relapse.



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       215.    Scientific evidence demonstrates a close link between opioid prescriptions and

opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”120 Most of

the illicit use originated from prescribed opioids.

       216.    This epidemic of opioid addiction, abuse, and use has caused direct harm to Plaintiff

and Class members. Private payors paid for more opioids than they would have but for the

oversupply and increased demand caused by Defendant’s and co-conspirators’ conduct. And,

Plaintiff and Class members have paid more for related medical care, including treatment for

opioid use disorder, drug addiction treatment, and emergency medical care, including the costs of

opioid overdose reversal drugs, such as Naloxone Hydrochloride (Narcan).

VIII. CLASS ACTION ALLEGATIONS

       217.    Plaintiff brings this case on behalf of itself and all others similarly situated under

Fed. R. Civ. P. 23(b)(2)-(3) and 23(c)(4) and seeks to represent members of the following

nationwide Class:

       All health insurance companies, third-party administrators, health maintenance
       organizations, self-funded health and welfare benefit plans, third-party payors and
       any other health benefit providers, in the United States of America and its
       territories, who have, since April 1, 2010 through a date to be established by the
       Court (such as the date of approval of class notice), (a) paid or incurred costs for
       prescription opioids manufactured, marketed, sold, or distributed by the Opioid
       Marketing Enterprise Members, for purposes other than resale, and/or (b) paid or
       incurred costs for treatment related to the misuse, addiction, and/or overdose of
       opioid drugs.

       218.    Plaintiff proposes the following Ohio Subclass:

       All health insurance companies, third-party administrators, health maintenance
       organizations, self-funded health and welfare benefit plans, third-party payors and

120
    Theodore J Cicero, et al., Relationship between therapeutic use and abuse of opioid analgesics
in rural, suburban, and urban locations in the United States, 16.8 PHARMACOEPIDEMIOLOGY &
DRUG SAFETY 827-40 (2007), https://pubmed.ncbi.nlm.nih.gov/17636553/.



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       any other health benefit providers, in the state of Ohio, who have, since April 1,
       2010 through a date to be established by the Court (such as the date of approval of
       class notice), (a) paid or incurred costs for prescription opioids manufactured,
       marketed, sold, or distributed by the Opioid Marketing Enterprise Members, for
       purposes other than resale, and/or (b) paid or incurred costs for treatment related to
       the misuse, addiction, and/or overdose of opioid drugs.121

       219.    These class exclude: (a) Defendant and its subsidiaries, affiliates, and controlled

persons; (b) Defendant’s officers, directors, agents, servants, or employees, and the immediate

family members of any such person; (c) all persons who and entities that make a timely election

to be excluded from the proposed Classes; (d) all federal and state government entities except for

cities, towns, municipalities, or counties with self-funded prescription drug plans; (e) pharmacy

benefit managers; (f) any Opioid manufacturers, distributors, and retailers named in actions

pending in MDL No. 2804 (N.D. Ohio); and (g) any judges or justices involved in this action, his

or her staff, and any members of their immediate families.

       220.    Plaintiff reserves the right to amend or modify the Class definitions with greater

specificity or further division into subclasses or limitation to particular issues.

       221.    Numerosity. The Class is so numerous that joinder of all members is unfeasible

and not practicable. Class members across the country were injured in their business and property

by Defendant’s conduct of the RICO enterprise and its other unlawful conduct, which took place

throughout the United States and impacted the Class and the public nationwide.

       222.    Commonality and Predominance. There are questions of law and fact common

to the Class, which predominate over any questions affecting only individual Class members.

These common questions of law and fact include, but are not limited to:




121
   For ease of reference, the Class and the Ohio Subclass are referred to herein as the “Class” or
“Class members.”



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               (a)     whether Defendant misrepresented the safety and efficacy of opioids, to the

financial detriment of the Class;

               (b)     whether Defendant engaged in a conspiracy or conspiracies to promote the

sales of opioids using false and deceptive means;

               (c)     whether Defendant engaged in a conspiracy or conspiracies to suppress

adverse information about opioids;

               (d)     whether Defendant substantially caused or contributed to the opioid

epidemic;

               (e)     whether Defendant’s conduct in creating, proposing, and implementing

sales and marketing strategies for opioids manufactured by Purdue before and after Purdue’s first

guilty plea in 2007 relating to misbranding of OxyContin contributed to the Class’ injuries;

               (f)     whether Defendant performed reasonable due diligence in ascertaining the

risks associated with its strategies for increasing OxyContin sales at Purdue in 2012 and thereafter;

               (g)     whether Defendant’s implementation of sales and marketing strategies at its

clients caused or contributed to an increase in opioid addiction;

               (h)     whether, developing plans for its clients to market and sell opioids,

Defendant failed to disclose the dangers and risks to the health of persons ingesting the drug;

               (i)     whether Defendant conspired with its clients to misrepresent in their

advertisements, promotional materials and other materials, among other things, the safety,

potential side effects, and convenience of opioids;

               (j)     whether Defendant engaged in conduct that violates federal RICO statutes

in promoting the sales of and suppressing adverse information about opioids;




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                (k)    whether Defendant engaged in a scheme to promote the sales of and

suppress adverse information about Opioids in violation of federal RICO statutes;

                (l)    whether Defendant engaged in a pattern of deceptive, fraudulent, and/or

improper activity;

                (m)    whether Defendant and the other Opioid Marketing Enterprise Members

(defined herein) formed the Opioid Marketing Enterprise for the purpose of effectuating their

fraudulent scheme;

                (n)    whether the Opioid Marketing Enterprise Members used the U.S. mails and

interstate wire facilities to carry out their fraudulent scheme;

                (o)    whether the Opioid Marketing Enterprise Members engaged in a pattern of

racketeering;

                (p)    whether Defendant’s conduct, in whole or in part, has substantially affected

interstate and intrastate commerce;

                (q)    whether Defendant unjustly enriched itself to the detriment of Plaintiff and

the members of the Class;

                (r)    whether Defendant contributed to the creation of a public nuisance;

                (s)    whether the conduct of Defendant, as alleged in this Complaint, caused

injury to the business or property of Plaintiff and the members of the Class, and if so, the

appropriate class-wide measure of damages;

                (t)    whether Plaintiff and the Class paid for more opioids due to Defendant’s

conduct than they otherwise would have, and/or paid for more medical care, including opioid use

disorder and drug addiction treatment, and emergency medical care including the costs of opioid

overdose reversal drugs, such as Naloxone Hydrochloride (Narcan);




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                   (u)    whether the Class has been damaged, and if so, the extent of such damages

and/or the nature of the equitable relief, statutory damages, or punitive damages to which the Class

is entitled; and

                   (v)    the amount of attorneys’ fees, prejudgment interest, and costs of the suit to

which the Class is entitled.

         223.      Issue Class. The above and other common questions of law or fact also raise

particular issues that are suitable for certification under Rule 23(c)(4).

         224.      Typicality. Plaintiff’s claims are typical of the claims of the members of the Class

under Rule 23(a)(3), because Plaintiff and the Class sustained damages arising out of Defendant’s

wrongful conduct as detailed herein. Specifically, Plaintiff, having expended substantial sums for

the purchase of opioid drugs and treatment for their abuse, asserts claims that are typical of the

claims of the entire Class, and will fairly and adequately represent and protect the interest of the

Class.

         225.      Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the members of the Class. Plaintiff has retained counsel with substantial

experience in prosecuting complex litigation and class actions. Plaintiff and its counsel are

committed to vigorously prosecuting this action on behalf of Class members and have the financial

resources to do so. Neither Plaintiff nor its counsel has any interest adverse to those of other Class

members.

         226.      Superiority of Class Action. A class action is superior to other available methods

for the fair and efficient adjudication of this controversy under Rule 23(b)(3). Joinder of all

members of the Class is impracticable. Furthermore, because the damages suffered by individual

members of the Class may, in some instances, be relatively small, the expense and burden of




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individual litigation make it impossible for such Class members individually to redress the wrongs

done to them. Also, the adjudication of this controversy through a class action will avoid the

possibility of inconsistent and possibly conflicting adjudications of the claims asserted herein.

There will be no undue difficulty in the management of this action as a class action, compared

with the expense, delay, strain on the Court and parties’ resources, and barriers to access that would

attend consignment to individual litigation. For many, the result would be no litigation or recourse

at all.

          227.   Policies Generally Applicable to the Class, Rule 23(b)(2). Defendant has acted

or failed to act on grounds generally applicable to Plaintiff and the Class, such that final injunctive

relief or corresponding declaratory relief is appropriate respecting the Class as a whole.

IX.       CLAIMS FOR RELIEF

          228.   Plaintiff re-alleges all of the foregoing allegations and incorporates them by

reference as if fully set forth in each of its following Claims for Relief, and Plaintiff further alleges

as follows:

                                              COUNT I

              Violation of Racketeer Influences and Corrupt Organizations (RICO),
                                      18 U.S.C. §1961, et seq.

          229.   This claim is brought by Plaintiff on behalf of itself and the Class against Publicis

for actual damages, treble damages, and equitable relief under 18 U.S.C. §1964, for violations of

18 U.S.C. §1961, et seq., and specifically, 18 U.S.C. §1962(c) and (d).

          230.   Section 1962(c) makes it “unlawful for any person employed by or associated with

any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a

pattern of racketeering activity.” 18 U.S.C. §1962(c).



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          231.   At all relevant times, Publicis is and has been a “person” under 18 U.S.C. §1961(3)

because it is capable of holding, and does hold, “a legal or beneficial interest in property.”

          232.   Plaintiff is also “person,” as that term is defined in 18 U.S.C. §1961(3), and has

standing to sue under 18 U.S.C. §1964(c) as it was and is injured in its business and/or property as

a direct result of Defendant’s wrongful conduct, “by reason of” the RICO violations as described

herein.

          233.   Section 1962(d) makes it unlawful for “any person to conspire to violate” Section

1962(c), among other provisions. 18 U.S.C. §1962(d).

          234.   Publicis conducted the affairs of an enterprise through a pattern of racketeering

activity, in violation of 18 U.S.C. §§1962(c) and (d).

Description of the Enterprise

          235.   Section 1961(4) defines an enterprise as “any individual, partnership, corporation,

association, or other legal entity, and any union or group of individuals associated in fact although

not a legal entity.” 18 U.S.C. §1961(4).

          236.   Under 18 U.S.C. §1961(4), a RICO “enterprise” may be an association-in-fact that,

although it has no formal legal structure, has (i) a common purpose; (ii) relationships among those

associated with the enterprise; and (iii) longevity sufficient to pursue the enterprise’s purpose.

          237.   Opioid manufacturers, like Purdue, Johnson & Johnson/Janssen, Teva/Cephalon,

and Endo, the Sacklers, unnamed KOLs, and other unnamed parties that participated in the

marketing and sale of opioids as described in this Complaint, including PBMs, together with

Publicis, (collectively, “Opioid Marketing Enterprise Members” or “Enterprise Members”)

engaged in a scheme to unlawfully increase sales of opioids – and grow their share of the

prescription painkiller market and the market as a whole – through repeated and systematic

misrepresentations, concealments, and omissions of material fact about the safety and efficacy of


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opioids for treating long-term chronic pain, together with other deceptive and fraudulent acts and

practices, as described in the Factual Allegations section of this Complaint.

       238.    In order to unlawfully increase the demand for opioids and, thereby, increase their

own profits despite their knowledge of the harmful effects that would follow, the Opioid Marketing

Enterprise Members formed an association-in-fact. The opioids manufacturers worked together

to accomplish their aims, with Publicis serving as a go-between that held all of the companies

together and helped coordinate the deceptive marketing and sales strategies. Through Publicis and

their own personal relationships, the members of the Opioid Marketing Enterprise had the

opportunity to form and take actions in furtherance of the Opioid Marketing Enterprise’s common

purpose: lying to prescribers and Plaintiff in order to increase sales of addictive and dangerous

drugs and line the Opioid Marketing Enterprise Members’ pockets. The Opioid Marketing

Enterprise Members’ substantial financial contributions to the Opioid Marketing Enterprise and

the advancement of opioids-friendly messaging fueled the U.S. opioid epidemic.

       239.    In the alternative, the association-in-fact Opioid Marketing Enterprise existed just

between Publicis, the Sacklers, and Purdue, who worked together to unlawfully increase sales of

opioids – and grow Purdue’s share of the prescription painkiller market – through repeated and

systematic misrepresentations about the safety and efficacy of opioids for treating long-term

chronic pain. Publicis knew Purdue was marketing its opioids illegally and fueling an opioid

epidemic, but despite its knowledge that opioids were harmful and addictive, Publicis worked with

Purdue to turbocharge the opioids market in order to profit from the crisis.

       240.    The Controlled Substances Act and its implementing regulations require that

“[e]very person who manufactures, distributes, dispenses, imports, or exports any controlled

substance,” including opioids, become a “registrant.” 21 C.F.R. §1301.11(a); see also 21 U.S.C.




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§823(a)-(b). These registrants, including opioid manufacturer and distributors, must maintain a

system to identify and report suspicious orders, including orders of unusual size or frequency, or

orders deviating from a normal pattern, and maintain effective controls against diversion of

controlled substances. See 21 U.S.C. §823; 21 C.F.R. §1301.74(b).

       241.    Despite these duties, Publicis spearheaded a scheme which overarching purpose

was to materially expand prescription opioid use by altering the medical community’s opioid

prescribing practices through repeated fraudulent statements and misrepresentations. The Opioid

Marketing Enterprise’s scheme was sophisticated, well-developed, and fraudulent and was

designed to increase the prescription rate for opioid medications the Opioid Marketing Enterprise

Members knew where dangerous and highly addictive. At all relevant times, Publicis was aware

of the conduct of the Opioid Marketing Enterprise, was a knowing and willing participant in that

conduct, and reaped profits from that conduct in the form of payments from other Opioid

Marketing Enterprise Members as a reward for work done to increase sales and distribution of

prescription opioids.

       242.    Publicis and the Opioid Marketing Enterprise Members, through the Opioid

Marketing Enterprise, concealed the true risks and dangers of opioids from the medical community

and Plaintiff and made misleading statements and misrepresentations about opioids that

downplayed the risk of addiction and exaggerated the benefits of opioid use. These misleading

statements included: (a) that addiction is rare among patients taking opioids for pain; (b) that

addiction risk can be effectively managed; (c) that symptoms of addiction exhibited by opioid

patients are actually symptoms of an invented condition, which the Opioid Marketing Enterprise

Members named “pseudoaddiction”; (d) that withdrawal is easily managed; (e) that increased

dosing presents no significant risks; (f) that long-term use of opioids improves function; (g) that




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the risks of alternative forms of pain treatment are greater than the adverse effects of opioids; (h)

that use of time-released dosing prevents addiction; and (i) that ADFs provide a solution to opioid

abuse.

         243.   The scheme devised, implemented, and conducted by Publicis and other Opioid

Marketing Enterprise Members was a common course of conduct designed to ensure that the

Opioid Marketing Enterprise Members unlawfully increased their sales and profits through

concealment and misrepresentations about the addictive nature and effective use of the opioid

manufacturers’ drugs. The Opioid Marketing Enterprise Members acted together for a common

purpose and perpetuated the Opioid Marketing Enterprise’s scheme.

         244.   There was regular communication between Publicis and the Opioid Marketing

Enterprise Members, in which information was shared, misrepresentations were coordinated, and

payments were exchanged. The Opioid Marketing Enterprise Members functioned as a continuing

unit for the purpose of implementing the Opioid Marketing Enterprise’s scheme and common

purpose, and each agreed and took actions to hide the scheme and continue its existence.

         245.   As public scrutiny and media coverage focused on how opioids ravaged

communities throughout the United States, Publicis did not challenge Purdue or other

manufacturers’ misrepresentations, seek to correct their previous misrepresentations, terminate

their role in the Opioid Marketing Enterprise, nor disclose publicly that the risks of using opioids

for chronic pain outweighed their benefits and were not supported by medically acceptable

evidence. Instead, despite its knowledge of the ongoing fraud and the danger it posed, Publicis

forged on in its participation in the Opioid Marketing Enterprise for financial gain.




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       246.    The impact of the Opioid Marketing Enterprise’s scheme is still in place – as

opioids continue to be prescribed and used for chronic pain throughout the United States, and the

epidemic continues to injure Plaintiff and Class members and consume their resources.

       247.    The evidence shows that the Opioid Marketing Enterprise Members, including

Publicis, were each willing participants in the Opioid Marketing Enterprise, had a common

purpose and interest in the object of the scheme, and functioned within a structure designed to

effectuate the Enterprise’s purpose.

Publicis’ Conduct in the Opioid Marketing Enterprise Violated RICO

       248.    From at least 2010 to the present, Publicis played some part in directing the affairs

of the Opioid Marketing Enterprise and participated in the operation or management of the affairs

of the Opioid Marketing Enterprise, directly or indirectly, in the following ways:

               (a)     creating and providing a body of deceptive, misleading, and unsupported

medical and popular literature about opioids that: (i) understated the risks and overstated the

benefits of long-term use; (ii) appeared to be the result of independent, objective research; and (iii)

was, thus, more likely to be relied upon by physicians, patients, and payors and their agents;

               (b)     creating and providing a body of deceptive, misleading, and unsupported

electronic and print advertisements about opioids that: (i) understated the risks and overstated the

benefits of long-term use; (ii) appeared to be the result of independent, objective research; and (iii)

was, thus, more likely to be relied upon by physicians, patients, and payors and their agents;

               (c)     creating and providing a body of deceptive, misleading, and unsupported

sales and promotional training materials about opioids that: (i) understated the risks and overstated

the benefits of long-term use; (ii) appeared to be the result of independent, objective research; and

(iii) was, thus, more likely to be relied upon by physicians, patients, and payors and their agents;




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                (d)    devising and implementing marketing schemes that included targeting and

misleading physicians, unlawfully incentivizing sales representatives to maximize prescriptions

and dosages, and evading regulatory constraints; and

                (e)    disseminating many of their false, misleading, imbalanced, and unsupported

statements through unbranded materials that appeared to be independent publications.

        249.    The scheme devised and implemented by the Opioid Marketing Enterprise

Members amounted to a common course of conduct intended to enrich themselves by increasing

sales of prescription opioids by convincing doctors to prescribe and patients to use opioids,

including for long-term chronic pain, despite Publicis’ and the Opioid Marketing Enterprise

Members’ knowledge of the addictions and deaths that would occur as a result. The scheme was

a continuing course of conduct, and many aspects of it continue through to the present.

The Opioid Marketing Enterprise Members Conducted or Participated, Directly or
Indirectly, in the Conduct of the Enterprise’s Affairs

        250.    Publicis participated in the operation or management of the Opioid Marketing

Enterprise itself.

        251.    As described herein, Publicis worked with Opioid Marketing Enterprise Members

and participated in the conduct of the Enterprise through a pattern of racketeering activity. Publicis

was the mastermind of marketing schemes deployed by the Opioid Marketing Enterprise members

to defraud prescribers, the public, and payors, including Plaintiff and the Class, by using the mail

and wires in furtherance of plans that were designed with specific intent to defraud.

        252.    Publicis, along with the Opioid Marketing Enterprise Members conducted an

association-in-fact enterprise and/or participated in the conduct of an enterprise through a pattern

of illegal activities (the predicate racketeering acts of mail and wire fraud) to carry out the common

purpose of the Opioid Marketing Enterprise, i.e., to unlawfully increase profits and revenues from



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the continued prescription and use of opioids for long-term, chronic pain.             Through the

racketeering activities of the Opioid Marketing Enterprise, the Opioid Marketing Enterprise

Members sought to further the common purpose of the Enterprise through a fraudulent scheme to

change prescriber habits and public perception about the safety and efficacy of opioid use. In so

doing, Publicis and each of the Opioid Marketing Enterprise Members knowingly conducted and

participated in the conduct of the Enterprise by engaging in mail and wire fraud, in violation of 18

U.S.C. §§1962(c) and (d).

       253.    Publicis and each of the Opioid Marketing Enterprise Members conducted and

participated in the conduct of the Opioid Marketing Enterprise by playing a distinct role in

furthering the Enterprise’s common purpose of increasing profits and sales through the knowing

and intentional dissemination of false and misleading information about the safety and efficacy of

long-term opioid use, and the risks and symptoms of addiction, in order to increase the market for

prescription opioids by changing prescriber habits and public perceptions.

       254.    Specifically, Publicis worked together with the Opioid Marketing Enterprise

Members to coordinate the Enterprise’s goals and conceal their role, and the Enterprise’s existence,

from prescribers, the public, and payors, including Plaintiff and the Class by, among other things:

(i) funding, editing, and distributing publications that supported and advanced their false messages;

(ii) funding KOLs to further promote their false messages; and (iii) tasking their own employees

to direct deceptive marketing materials and pitches directly at physicians.

       255.    Further, each of the Opioid Marketing Enterprise Members had systematic links to,

and personal relationships with, each other through joint participation in lobbying groups, trade

industry organizations, contractual relationships, and continuing coordination of activities. The

systematic links and personal relationships that were formed and developed allowed the Opioid




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Marketing Enterprise Members the opportunity to form the common purpose and agree to conduct

and participate in the conduct of the Opioid Marketing Enterprise. Specifically, each of the Opioid

Marketing Enterprise Members coordinated their efforts through the same KOLs and front groups,

based on their agreement and understanding that the front groups and KOLs were industry friendly

and would work together with the Opioid Marketing Enterprise Members to advance the common

purpose of the Opioid Marketing Enterprise; and each of the individuals and entities who formed

the Opioid Marketing Enterprise acted to enable the common purpose and fraudulent scheme of

the Opioid Marketing Enterprise.

       256.    At all relevant times, Publicis formed a part of the Opioid Marketing Enterprise

which: (a) had an existence separate and distinct from each opioid manufacturer and its members;

(b) was separate and distinct from the pattern of racketeering in which the Opioid Marketing

Enterprise Members engaged; (c) was an ongoing and continuing organization consisting of

individuals, persons, and legal entities, including each of the Opioid Marketing Enterprise

Members; (d) was characterized by interpersonal relationships between and among each member

of the Opioid Marketing Enterprise; and (e) had sufficient longevity for the Enterprise to pursue

its purpose and functioned as a continuing unit.

       257.    Publicis along with the Opioid Marketing Enterprise Members conducted and

participated in the conduct of the Opioid Marketing Enterprise through a pattern of racketeering

activity that employed the use of mail and wire facilities, in violation of 18 U.S.C. §1341 (mail

fraud) and 1343 (wire fraud), to increase profits and revenue by changing prescriber habits and

public perceptions in order to increase the prescription and use of prescription opioids and expand

the market for opioids.




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       258.    Publicis committed, conspired to commit, and/or aided and abetted the Opioid

Marketing Enterprise Members in their commission of at least two predicate acts of racketeering

activity (i.e., violations of 18 U.S.C. §§1341 and 1343) within the past ten years. The multiple

acts of racketeering activity that the Opioid Marketing Enterprise Members committed, or aided

and abetted in the commission of, were related to each other, posed a threat of continued

racketeering activity, and, therefore, constitute a “pattern of racketeering activity.”           The

racketeering activity was made possible by Publicis’ and the Opioid Marketing Enterprise

Members’ regular use of the facilities, services, distribution channels, and employees of the Opioid

Marketing Enterprise, the U.S. mail, and interstate wire facilities. Publicis participated in the

scheme to defraud by using mail, telephones, and the internet to transmit communications and

payments in interstate or foreign commerce.

The Conduct Was More than a Typical Business Relationship

       259.    There were strong relationships among those associated with the Opioid Marketing

Enterprise and sufficient longevity among Enterprise associates that helped to pursue the

Enterprise’s common purpose. The common purpose was to increase opioid revenues unlawfully

by misrepresenting and lying about opioids to change prescriber habits and the perception

regarding the safety and efficacy of opioids for chronic pain and long-term use. The Opioid

Marketing Enterprise’s deceit was, in part, its failure to disclose that increasing strength and dosing

actually increased the risk of addiction and overdose and that patients on opioids for more than a

brief period develop tolerance, requiring increasingly high doses to achieve pain relief.

       260.    As detailed above, in April of 2010, Rosetta entered into a Marketing Services

Agreement with Purdue. Publicis then adopted and assumed the Marketing Services Agreement

with Purdue when it acquired Rosetta in May of 2011.




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       261.    From 2010 through 2019, Publicis (via Rosetta) advised Purdue on research and

development, business development, and product licensing related to Purdue’s opioid products.

Purdue relied heavily on Publicis to help Purdue publicly portray itself as a good corporate citizen

who could now be trusted and was even working on an ADF of OxyContin.

       262.    Over their many years of working together, Publicis, Purdue, and the Sacklers

developed a close relationship as Publicis became entwined in Purdue’s business and its efforts in

the expansion of OxyContin sales.

       263.    The Opioid Marketing Enterprise was more than a typical business relationship.

Rather, Publicis knew that opioids were addictive and causing serious harm to people and

communities but chose to work together to lie to prescribers, the public, and payors, including

Plaintiff and the Class, about these drugs in order to increase their bottom lines. Publicis worked

closely with Purdue and other opioid manufacturers to achieve these aims. Publicis, as an advisor

of multiple opioid manufacturers, had access to information about multiple players and was able

to coordinate the fraud occurring across the Opioid Marketing Enterprise.             Publicis was

particularly embedded in Purdue’s organizational structure and the relationship’s longevity was

sufficient to pursue the Enterprise’s purposes. During the 2010-2019 period in particular, Purdue

relied extensively on Publicis to develop its sales and marketing strategy for OxyContin.

       264.    The intent to defraud is evident in Publicis’ attempts to strengthen its relationship

with Purdue and to assist Purdue in selling opioids despite Purdue’s 2007 criminal guilty plea. As

part of the guilty plea, Purdue admitted that its “supervisors and employees, with the intent to

defraud or mislead, marketed and promoted OxyContin as less addictive, less subject to abuse and

diversion, and less likely to cause tolerance and withdrawal than other pain medication.” But

rather than be deterred by this, Publicis charged on.




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          265.   During the 2010-2019 period in particular, Purdue relied extensively on Publicis to

develop its sales and marketing strategy for OxyContin and later Hysingla and Butrans. Publicis

worked closely with Purdue on both the creation and implementation of OxyContin sales strategy.

Publicis’ work for Purdue included consulting, evaluation of research and development, risk

management, product marketing, and implementation of any marketing strategies and schemes.

Publicis was so committed to Purdue’s mission to increase OxyContin sales that Publicis

marketing executives would accompany Purdue sales representatives on prescriber visits and sales

calls.

          266.   With Publicis’ help, Purdue’s 2007 guilty plea and the Corporate Integrity

Agreement became nothing more than slight bumps in Purdue’s proverbial speedway to maximum

profits from opioid sales. In 2015 alone, Purdue obtained $3 billion in annual opioid sales – a

four-fold increase from its 2006 sales of $800 million.

          267.   Publicis’ relationship with Purdue went far beyond a typical business relationship.

Publicis worked closely with Purdue on both the creation and implementation of OxyContin sales

strategy, a strategy Publicis knew was based on misleading and defrauding doctors and patients

alike about a dangerous and highly addictive drug.

          268.   Further, Publicis had access to detailed prescribing information enabling Publicis

to determine if there were suspicious or problematic prescribing patterns. Rather than using this

information to help its clients prevent diversion of controlled substances, Publicis and Purdue used

this information in furtherance of their scheme to defraud prescribers and Plaintiff, target and

increase sales to prescribers who were overprescribing, and continue to fuel opioid addiction and

the resulting epidemic.




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The Fraudulent Scheme

       269.    As detailed above, the operation of the Opioid Marketing Enterprise, included

several schemes to defraud that helped to further the goals of Publicis and the Opioid Marketing

Enterprise Members – i.e., to expand the market and increase profits and sales through the knowing

and intentional dissemination of false and misleading information about the safety and efficacy of

long-term opioid use, and to increase profits for the Enterprise Members via expanding the market

for opioids.

Fraudulent Marketing Scheme: Deceptive Messaging Regarding Opioid Use

       270.    As described throughout, Publicis sought to unlawfully increase profits and

revenues from the continued prescription and use of opioids for long-term, chronic pain by

changing prescriber habits and public perception regarding the safety and efficacy of opioids.

Publicis’ fraud specifically targeted prescribers and set out to convince them that they should

prescribe more and more opioids, overcoming what could otherwise be a check on opioid

manufacturers’ ability to increase sales of addictive products.

       271.    Despite Publicis knowing that reformulated crush-resistant OxyContin could still

be abused, and having advised Purdue on the design of tests on crush-resistant OxyContin as part

of Purdue’s FDA submission, in furtherance of the scheme to defraud, Publicis spread messages

that prescribing the new formulations would deter opioid use disorder and addiction. However,

Publicis was well aware that these claims were completely unsupported by the studies’ findings,

and that, in fact, nothing in OxyContin’s formulation would deter abuse or addiction and that

patients could simply swallow higher amounts of pills.

       272.    Publicis created strategies to repair Purdue’s reputation from the hit it took from its

2007 criminal plea for illegally marketing OxyContin, to help boost OxyContin sales.




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       273.    Despite Publicis’ knowledge that the crush-resistant reformulation did nothing to

decrease opioid use disorder and addiction, Publicis pursued messaging and a strategy that was

deceptive and was designed to deceive doctors in particular. Knowing that Purdue pleaded guilty

to offenses related to its marketing and distribution of addictive opioids, Publicis advised Purdue

to market OxyContin to encourage more prescriptions (that it knew would lead to abuse and

overdose events) into higher dose prescriptions by a smaller number of loyalist prescribers.

       274.    Far from the deception of doctors being an unforeseen consequence, Publicis

intentionally set out to target doctors as a cog in its scheme to defraud. Indeed, deceiving doctors

was part of the marketing scheme, and doctors were utilized in furtherance of the deception.

Medical providers were not a break in the causal chain of harm to Plaintiff and Class members but

were targeted players in the scheme to defraud and key links in the casual chain to get to patients

who would become consumers and users of opioids.

       275.    The marketing scheme involved using data to target high prescribers and training

marketers to make misleading statements with the goal to increase high dose prescriptions, which

Publicis and Opioid Marketing Enterprise Members knew were more likely to be abused. Publicis

and Opioid Marketing Enterprise Members knew that overdoses were expected and that such

overdoses would lead to need for increased services.

       276.    Purdue’s 2020 guilty plea acknowledged its role in using aggressive marketing to

convince doctors to prescribe opioids unnecessarily, fueling the drug addiction crisis. Publicis was

the architect that designed and implemented Purdue’s OxyContin and later Hysingla’s and

Butrans’ marketing scheme disregarding Purdue’s 2007 guilty plea. Starting in 2010, Publicis

designed, developed, and helped implement these strategies.




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         277.   As detailed throughout, Publicis and the Opioid Marketing Enterprise Members

were aware of the catastrophic injury inflicted on the public by selling harmful, addictive opioid

products. Yet when promoting opioids and engaging in doctor detailing, they all intentionally hid

the potential for abuse and addiction by marketing OxyContin’s 12-hour dosing as meaning that

users only need to take OxyContin twice a day, thus requiring fewer pills.

         278.   It was foreseeable that this marketing strategy would lead to greater addiction

because OxyContin wore off after 8 to 10 hours in many patients. Prescribing 12-hour dosing led

to “end-of-dose failure[,]” which led to a vicious cycle that became “the perfect recipe for

addiction[.]”122

         279.   The marketing scheme worked. Nationwide, based on an analysis by the Los

Angeles Times, more than 52% of patients taking OxyContin longer than three months are on doses

greater than 60 milligrams per day – which converts to the 90 MME dose that the CDC Guidelines

urge prescribers to “avoid” or “carefully justify.”123

         280.   A key element of the marketing scheme that fueled the deadly epidemic of opioid

abuse was doctor detailing using detailed prescriber data.

Data Scheme: Use of Prescriber Data for Intentional Targeting of High Opioid Prescribers
– Not Diversion Prevention

         281.   Distributors of controlled substances, including manufacturers, have a legal duty to

report suspicious orders, and to report those that deviate substantially from a normal pattern and

orders of unusual size and frequency. See 21 U.S.C. §823; 21 C.F.R. §1301.74(b). These

obligations included a legal duty to maintain effective controls and procedures to guard against


122
   Harriet Ryan, et al., “You Want a Description of Hell?” OxyContin’s 12-Hour Problem, L.A.
TIMES (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1.
123
      CDC Guidelines at 16.



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diversion of controlled substances and a legal duty to maintain a system to identify and report

suspicious orders of controlled substances. See 21 C.F.R. §§1301.7(a) and (b); 1301.74(b). Rather

than advising its registrant clients, the opioid manufacturers, on how to comply with its legal duties

to maintain effective controls to guard against diversion and how to operate a system to identify

and report suspicious orders, in furtherance of the scheme, Publicis used detailed data to target

prescribers to grow the opioid market.

       282.    Consistent with the Opioid Marketing Enterprise’s purpose of increasing profit by

deceptively marketing opioids, Publicis was tasked with identifying growth opportunities for

OxyContin, Opana, Fentora, and other opioid drugs, conducting assessments of the underlying

drivers of their current performance, and identifying key opportunities to combat any public health

efforts that would hinder that performance.

       283.    Publicis had access to physician-level sales data and used it to develop its marketing

strategy to increase sales of OxyContin and other opioid drugs. Rather than using this access to

the data to avoid diversion and to prevent Opioid Marketing Enterprise Members from targeting

prescribers with suspicious prescribing patterns, or to halt flagged prescribers from continuing to

issue unnecessary and harmful prescriptions, Publicis used this information to help the Opioid

Marketing Enterprise Members push more opioids on high volume prescribers in furtherance of

its schemes to defraud. The targets were chosen based on their history of prescribing high doses

of opioids in large quantities.

       284.    Publicis and the Opioid Marketing Enterprise Members used the data for intentional

targeting of high prescribers and not for diversion prevention. For example, Publicis advised

Purdue to raise sales of OxyContin by focusing on high dose sales, which were the most profitable,

and deceptively messaged to physicians that OxyContin would improve function and quality of




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life.    Publicis urged Purdue to maximize sales by dictating which prescribers its sales

representatives would target. For example, Publicis advised Purdue that it should take “specific

actions” to increase sales of OxyContin, including “Targeting Prolific Prescribers,” “Influencing

No See Prescribers,” and “Targeting Nurse Practitioners and Physicians Assistants.”

         285.   The Opioid Marketing Enterprise’s scheme also explored ways to increase the

amount of time sales representatives spent in the field increasing opioid sales, and prioritizing

OxyContin in incentive compensation targets.

         286.   By targeting physicians based on their prescribing patterns, Publicis and the Opioid

Marketing Enterprise was working toward the common purpose of deceptively convincing doctors

to prescribe more opioids, and thereby, increase their own profits. The plan was aimed at boosting

sales of OxyContin by targeting the highest volume opioid prescribers, which Publicis and other

Opioid Marketing Enterprise Members knew, or should have known, would result in the expansion

of the illicit opioid market.

         287.   The Opioid Marketing Enterprise sought to grow opioid sales to prescribers who

raised red flags of diversion and orders it knew, or should have known, were likely to be diverted

or fuel an illegal market. Purdue had a legal obligation not to target these prescribers; rather, it

was obligated to report their conduct to law enforcement. Yet, Publicis turned a blind eye to

Purdue’s legal obligations staying forever focused on expanding the opioid market and cashing in

on indiscriminate distribution of opioid prescriptions. The Opioid Marketing Enterprise used

access to prescriber data not to report diversion but to enhance diversion.

Pattern of Racketeering Activity

         288.   Publicis together with other Opioid Marketing Enterprise Members engaged in a

scheme to unlawfully increase sales of opioids – and grow their respective shares of the

prescription painkiller market – through repeated and systematic misrepresentations about the


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safety and efficacy of opioids for treating long-term chronic pain. As a unique consulting entity

with knowledge of both the addictive properties and abuse potential of opioids and with access to

data regarding internal prescribing behaviors of its targets, Publicis perpetrated a number of

fraudulent schemes using the mails and wires, including advising Purdue to market more opioids

directly to patients and to get them comfortable with asking their prescribers and providers to

prescribe opiates and in higher doses.      Publicis also encouraged Purdue and other opioid

manufacturers to target high volume prescribers while helping to downplay the risks of opioids

and training its sales representatives on how to overcome prescriber objections to the safety of

OxyContin and other opioid drugs. Publicis fueled the epidemic alongside its clients. Through

targeted marketing that Publicis developed and implemented, Publicis substantially contributed to

extending the life and use of opioids across the United States when use should have declined and

diminished following Purdue’s 2007 guilty plea. Publicis, at all times relevant, was and is an

enterprise that is engaged in and affects interstate commerce because the company advised opioid

manufacturers on the sale of opioid products across the United States, as alleged herein.

       289.    The Opioid Marketing Enterprise Members devised and knowingly carried out this

illegal scheme and artifice to defraud by means of materially false or fraudulent pretenses,

representations, promises, or omissions of material facts regarding the safe, non-addictive, and

effective use of opioids for long-term chronic, non-acute, and non-cancer pain. They knew that

these representations deviated from the FDA-approved use of these drugs and were not supported

by actual evidence. The Opioid Marketing Enterprise Members intended that their common

purpose and scheme to defraud would, and did, deceive consumers, prescribers, regulators, and

payors, including Plaintiff and the Class, and other intended victims and they used the U.S. mail




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and interstate wire facilities with the specific intent to advance, and for the purpose of executing,

their illegal scheme.

        290.   By intentionally concealing the material risks and affirmatively misrepresenting the

benefits of using opioids for chronic pain, Publicis and Opioid Marketing Enterprise Members

engaged in a fraudulent and unlawful course of conduct constituting a pattern of racketeering

activity.

        291.   To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

Opioid Marketing Enterprise Members hid from the consumers, prescribers, regulators, and

payors, including Plaintiff and the Class: (a) the fraudulent nature of the Opioid Marketing

Enterprise Members’ marketing scheme; (b) the fraudulent nature of statements made by the

Opioid Marketing Enterprise Members regarding the safety and efficacy of prescription opioids;

and (c) the true nature of the relationship between the members of the Opioid Marketing Enterprise.

        292.   The Opioid Marketing Enterprise Members with knowledge and intent, of the

overall objective of the Opioid Marketing Enterprise Members’ fraudulent scheme, participated in

a common course of conduct to commit acts of fraud and indecency in marketing prescription

opioids.

        293.   Indeed, for the Opioid Marketing Enterprise Members’ fraudulent scheme to work,

each of them had to agree to implement similar tactics regarding fraudulent marketing of

prescription opioids. This coordination was accomplished via their relationships with each other.

        294.   The Opioid Marketing Enterprise Members’ predicate acts all had the purpose of

creating the opioid epidemic that substantially injured Plaintiff, while simultaneously generating

billion-dollar revenues and profits for the Opioid Marketing Enterprise Members. The predicate




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acts were committed or caused to be committed by Publicis through its participation in the Opioid

Marketing Enterprise and in furtherance of its fraudulent scheme.

       295.    The Opioid Marketing Enterprise Members’ scheme described herein was

perpetrated, in part, through multiple acts of mail fraud and wire fraud, constituting a pattern of

racketeering activity. Publicis in particular used mail and wire transmission, directly or indirectly,

in furtherance of this scheme by transmitting deliberately false and misleading statements to

prescribers, pain patients and the public.

       296.    Publicis had a specific intent to deceive and defraud prescribers, patients, and

payors, including Plaintiff and the Class. For example, as alleged above, Publicis developed and

distributed repeated and unequivocal statements through the mails and wires that were false and

misleading. Publicis advised Purdue to market OxyContin based on the false and misleading

notions while downplaying the risks that Publicis knew were inherent in prescription opioids.

       297.    Similarly, Publicis caused to be transmitted through the mails and wires false and

misleading statements regarding the addiction potential of opioids. Moreover, Publicis promoted

and directed Purdue to deploy email campaigns to prompt prescribers to download OxyContin

“Savings Cards,” a campaign that led to 67,000 more OxyContin prescriptions in just one year.

       298.    Publicis’ marketing scheme is especially egregious since the public relies on

physicians as a position of trust and authority in the community regarding their health and well-

being. Publicis intentionally deceived physicians regarding the abuse potential of opioids. It

intended prescribers and the public to rely on its false statements. Publicis intended reliance on

these false statements with reckless disregard for the danger these pills posed to the public. This

scheme was therefore reasonably calculated to deceive not only persons of ordinary prudence and

comprehension but also educated physicians in a place of high trust in the community.




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Predicate Acts

       299.    To carry out, or attempt to carry out, the scheme, Publicis and the Opioid Marketing

Enterprise Members, each of whom is a person associated-in-fact with the Enterprise, knowingly

conducted or participated in, directly or indirectly, the affairs of the Enterprise through a pattern

of racketeering activity within the meaning of 18 U.S.C. §§1961(1), 1961(5) and 1962(c), and

employed the use of the mail and wire facilities, in violation of 18 U.S.C. §§1341 (mail fraud) and

1343 (wire fraud).

       300.    Specifically, Publicis has committed, conspired to commit, and/or aided and

abetted in the commission of, at least two predicate acts of racketeering activity (i.e., violations of

18 U.S.C. §§1341 and 1343), within the past ten years.

       301.    The multiple acts of racketeering activity which Publicis and the Opioid Marketing

Enterprises Members committed, or aided or abetted in the commission of, were related to each

other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of

racketeering activity.”

       302.    The racketeering activity was made possible by Publicis’ and the Opioid Marketing

Enterprise’s regular use of the facilities, services, distribution channels, and employees of the

Enterprise Members.

       303.    Publicis and the Opioid Marketing Enterprise Members participated in the schemes

by using mail, telephone, and the internet to transmit mailings and wires in interstate or foreign

commerce.

       304.    In devising and executing the illegal schemes, Publicis and the Opioid Marketing

Enterprises Members devised and knowingly carried out a material scheme and/or artifice to

defraud Plaintiff and Class members and to obtain money by means of materially false or

fraudulent pretenses, representations, promises, or omissions of material facts.


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        305.   For the purpose of executing the illegal schemes, Publicis and the Opioid Marketing

Enterprise Members committed these racketeering acts, which number in the thousands,

intentionally and knowingly with the specific intent to advance the illegal schemes.

        306.   The Opioid Marketing Enterprise Members’ predicate acts of racketeering (18

U.S.C. §1961(1)) include, but are not limited to, the conduct described in the Factual Allegations

section of this Complaint, and:

               (a)    Mail Fraud: The Opioid Marketing Enterprise Members violated 18 U.S.C.

§1341 by sending or receiving, or by causing to be sent and/or received, materials via U.S. mail or

commercial interstate carriers for the purpose of executing the unlawful scheme to design,

manufacture, market, and sell the prescription opioids by means of false pretenses,

misrepresentations, promises, and omissions.

               (b)    Wire Fraud: The Opioid Marketing Enterprise Members violated 18 U.S.C.

§1343 by transmitting and/or receiving, or by causing to be transmitted and/or received, materials

by wire for the purpose of executing the unlawful scheme to design, manufacture, market, and sell

the prescription opioids by means of false pretenses, misrepresentations, promises, and omissions.

        307.   Indeed, as summarized herein, the Opioid Marketing Enterprise Members used the

mail and wires to send or receive thousands of communications, publications, representations,

statements, electronic transmissions and payments to carry out the unlawful Opioid Marketing

Enterprise’s fraudulent scheme, including essentially uniform misrepresentations, concealments,

and material omissions regarding the beneficial uses and non-addictive qualities for the long-term

treatment of chronic, non-acute, and non-cancer pain, with the goal of profiting from the increased

sales of the Opioid Marketing Enterprise Members’ drugs that occurred because consumers,

prescribers, regulators, and payors, like Plaintiff and the Class, relied on the Opioid Marketing

Enterprise Members’ misrepresentations. These uses of the U.S. mail or interstate wires included,

inter alia:


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               (a)     marketing materials about opioids and their risks and benefits, which the

Opioid Marketing Enterprise Members sent to health care providers, transmitted through the

internet and television, and published across the country, including in counties and cities and on

Tribal Reservations and to Plaintiff and Class members and their agents;

               (b)     written representations and telephone calls among the Opioid Marketing

Enterprise Members and between the Opioid Marketing Enterprise Members regarding the

misrepresentations, marketing statements, and claims about opioids, including the non-addictive,

safe use of opioids for chronic, long-term pain generally;

               (c)     emails, telephone calls, and written communications among the Opioid

Marketing Enterprise Members agreeing to or implementing the opioids marketing scheme;

               (d)     communications among the Opioid Marketing Enterprise Members and

between the Opioid Marketing Enterprise Members and the media regarding the publication,

drafting, and dissemination of treatment guidelines as part of the Opioid Marketing Enterprise;

               (e)     written and oral communications directed to prescribers, the public,

Plaintiff and Class members and their agents that fraudulently misrepresented the risks and benefits

of using opioids for chronic pain; and

               (f)     receipts of increased profits sent through the U.S. mail and interstate wire

facilities – the wrongful proceeds of the scheme.

       308.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities are not obtainable (e.g., each time a Publicis trained sales representative or marketer

“calls” or reached out to a physician using the mails or wires in furtherance of the marketing

scheme). Because the Opioid Marketing Enterprise Members disguised their participation in the

Enterprise, and worked to keep the Enterprise’s existence secret, many of the precise dates of the




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Opioid Marketing Enterprise’s uses of the U.S. mail and interstate wire facilities (and

corresponding predicate acts of mail and wire fraud) have been hidden and cannot be alleged

without access to the books and records maintained by the Opioid Marketing Enterprise Members.

Indeed, an essential part of the successful operation of the Opioid Marketing Enterprise alleged

herein depended upon secrecy. Plaintiff has, however, described the types of predicate acts of mail

and/or wire fraud, including the specific types of fraudulent statements upon which, through the

mail and wires, Publicis engaged in fraudulent activity in furtherance of their scheme.

       309.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers, prescribers, regulators and Plaintiff. The

Opioid Marketing Enterprise Members calculated and intentionally crafted the scheme and

common purpose of the Opioid Marketing Enterprise to ensure their own profits remained high.

In designing and implementing the scheme, the Opioid Marketing Enterprise Members understood

and intended that those in the distribution chain rely on the integrity of the pharmaceutical

companies and ostensibly neutral third parties to provide objective and scientific evidence

regarding the Opioid Marketing Enterprise Members’ products.

       310.    Below, Plaintiff also describes examples of occasions when Publicis disseminated

misrepresentations and false statements to consumers, prescribers, payors and their agents, and

Plaintiff, and how those acts were in furtherance of the scheme.

       311.    Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern of racketeering activity,

through which Publicis with the Opioid Marketing Enterprise Members defrauded and intended to

defraud consumers, prescribers, regulators, Plaintiff, and other intended victims.




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       312.    These were not isolated incidents. Instead, Publicis and the Opioid Marketing

Enterprise Members engaged in a pattern of racketeering activity by committing thousands of

predicate acts in a ten-year period, in the form of mail and wire fraud, and there remains a threat

that such conduct will continue in the future.

       313.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers, prescribers, regulators, and Plaintiff.

Publicis and the Opioid Marketing Enterprise Members calculated and intentionally crafted the

scheme and common purpose of the Opioid Marketing Enterprise to ensure their own profits

remained high. In designing and implementing the scheme, the Opioid Marketing Enterprise

Members understood and intended that those in the opioid distribution chain rely on the integrity

of the pharmaceutical companies and ostensibly neutral third parties to provide objective and

scientific evidence regarding the Opioid Marketing Enterprise Members’ products.

       314.    Opioid Marketing Enterprise Members’ pattern of racketeering activity alleged

herein and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise,

the Opioid Marketing Enterprise Members are distinct from the Opioid Marketing Enterprise.

       315.    The racketeering activities conducted by Publicis and the Opioid Marketing

Enterprise Members amounted to a common course of conduct, with a similar pattern and purpose,

intended to deceive consumers, prescribers, regulators, payors and their agents, and Plaintiff. Each

separate use of the U.S. mail and/or interstate wire facilities employed by the Opioid Marketing

Enterprise was related, had similar intended purposes, involved similar participants and methods

of execution, and had the same results affecting the same victims, including consumers,

prescribers, regulators, and payors, like Plaintiff and Class members. The Opioid Marketing




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Enterprise Members have engaged in the pattern of racketeering activity for the purpose of

conducting the ongoing business affairs of the Opioid Marketing Enterprise.

       316.    Each of the Opioid Marketing Enterprise Members aided and abetted others in the

violations of the above laws, thereby rendering them indictable as principals in the 18 U.S.C.

§§1341 and 1343 offenses.

       317.    As described herein, the Opioid Marketing Enterprise Members engaged in a

pattern of related and continuous predicate acts for years. The predicate acts constituted a variety

of unlawful activities, each conducted with the common purpose of obtaining significant money

and revenue from the marketing and sale of their highly addictive and dangerous drugs. The

predicate acts also had the same or similar results, participants, victims, and methods of

commission. The predicate acts were related and not isolated events.

       318.    The Opioid Marketing Enterprise Members’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiff injury in its business and property.

The Opioid Marketing Enterprise Members’ pattern of racketeering activity logically, substantially

and foreseeably caused an opioid epidemic. Plaintiff’s injuries, as described below, were not

unexpected, unforeseen or independent.       Rather, as Plaintiff alleges, the Opioid Marketing

Enterprise Members knew that the opioids were unsuited to treatment of long-term chronic, non-

acute, and non-cancer pain, or for any other use not approved by the FDA, and knew that opioids

were highly addictive and subject to abuse. Nevertheless, the Opioid Marketing Enterprise

Members engaged in a scheme of deception that utilized the mail and wires in order to carry out

the Opioid Marketing Enterprises’ fraudulent scheme, thereby increasing sales of their opioid

products.




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        319.   It was foreseeable and expected that the Opioid Marketing Enterprise Members

creating and then participating in the Opioid Marketing Enterprise through a pattern of

racketeering activities to carry out their fraudulent scheme would lead to a nationwide opioid

epidemic, including increased opioid addiction and overdose.

Publicis Was Well Aware of Risks of Abuse Before It Launched Its Marketing Scheme

        320.   These devastating results of the opioid crisis were eminently foreseeable by

Publicis and the Opioid Marketing Enterprise Members.

        321.   When Purdue pleaded guilty in 2007, it was evident that Purdue’s behavior and

excessive prescribing was directly linked to a drug addiction crisis that caused severe and extensive

damage to America. Purdue’s methods included “using aggressive marketing tactics to convince

doctors to unnecessarily prescribe opioids – frivolous prescriptions that experts say helped fuel a

drug addiction crisis that has ravaged America for decades.”124

        322.   Publicis cannot deny knowledge regarding Purdue’s 2007 guilty plea. At that point,

Publicis knew that opioids were addictive and that OxyContin was being widely abused and

causing harm to people and entities like Plaintiff and Class members. Publicis knew that Purdue

had been fraudulently marketing OxyContin as less addictive, less subject to abuse, and less likely

to cause withdrawal. And yet, years later, in 2010, Publicis jumped at the opportunity to continue

to aggressively promote opioids despite knowledge that people were still dying from overdoses.

        323.   Publicis continued to add fuel to this fire by persisting in aggressively marketing to

physicians and continuing to fuel the opioid crisis long after Purdue’s guilty plea. Even when

Publicis became intimately aware of the harm being caused by OxyContin, it was all too excited


124
    Jan Hoffman & Katie Benner, Purdue Pharma Pleads Guilty to Criminal Charges for Opioid
Sales, N.Y. TIMES (Sept. 1, 2021), https://www.nytimes.com/2020/10/21/health/purdue-opioids-
criminal-charges.html.



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to be awarded the Hysingla and Butrans accounts to further permeate and proliferate the

prescription opioid crisis in America. It was foreseeable that continuing to do so would devastate

American communities.

        324.   Defendant’s misleading marketing and failure to prevent prescription opioid

diversion damaged Plaintiff and its authorizing tribes and villages. Defendant’s misconduct has

contributed to a range of social problems, including violence and delinquency. Adverse social

outcomes include child neglect, family dysfunction, babies born addicted to opioids, criminal

behavior, poverty, property damage, unemployment, and social despair. As a result, more and

more of Plaintiff’s resources are devoted to addiction-related problems.

        325.   Similarly, news stories across the nation reported additional consequences of wide

scale opioid addiction: needles littered around public property, posing costs to the governments

and danger to residents.125

        326.   The foreseeability of the abuse and need for additional services that would be

required following the misleading marketing and increased prescribing and use of high dose

opioids was obvious. Indeed, Publicis knew, or should have known, that increased prescriptions

would lead to overdoses and to an additional financial burden for social and health services.

        327.   Publicis is liable for its successful efforts to increase OxyContin sales after

Purdue’s 2007 guilty plea for misbranding the drug. Indeed, Publicis’ focus on increasing opioid

sales after Purdue’s guilty was incendiary to escalating and perpetuating the opioid epidemic by:

(a) using data to specifically target high volume prescribers; (b) persuading sales of higher doses



125
    See, e.g., Emily Sweeney, Hypodermic needles litter landscape south of Boston, BOSTON
GLOBE                         (Oct.                        26,                        2014),
https://www.bostonglobe.com/metro/regionals/south/2014/10/25/hypodermic-needles-litter-
landscape-south-boston/pzgmgbyjYFCD967TePDyiM/story.html.



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of opioids; (c) tailoring marketing messages to conceal their addictive principles; and (d) by

reducing the training of sales representatives.

       328.      Publicis cannot deny that it was not aware of the abuse and overdose potential of

opioids when it provided estimates for the future costs of overdose or opioid use disorder events.

       329.      Publicis and the other Opioid Marketing Enterprise Members marketed a product,

through intentionally deceptive means, that it knew would result in consumer deaths and harm to

Plaintiff and Class members. This is not an attenuated causal chain. Rather, aggressively

marketing to high prescribing individuals, and training to not fully disclose the risk of abuse, were

integral parts of the marketing scheme. Deceptive messaging to targeted prescribers who were

likely to prescribe increased doses with an anticipated abuse potential was part and parcel of the

scheme to defraud.

       330.      As a result, Plaintiff and Class members have shouldered the burden of these

anticipated increased services and harm to business and property that are inherently tied to opioid

abuse and misuse, and both the increased services and harms were reasonably and actually

expected from increased prescribing.

       331.      Publicis’ goal was to increase opioid prescribing, and it knew that doing so would

also result in the need for increased medical services. It was also foreseeable that increased

prescriptions would also result in increased costs to Plaintiff and Class members throughout the

United States.

       332.      But for the increase in prescribed opioids, Plaintiff and Class members would not

have had to expend additional resources or suffered other harm to business and property as a result

of harms associated with opioid addiction. Publicis and the Enterprise Members persisted in

targeting prescribers to prescribe high doses of opioids and knew that doing so would result in




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adverse health and social outcomes, including overdoses, neo-natal complications, harm to

communities like Plaintiff’s and Class members’, hazardous waste in Plaintiff’s communities, as

well as and increased expenditures on services to combat such ill effects.

Plaintiff’s and Class Members’ Business and Property Have Been Damaged by Publicis’
RICO Violations

       333.    Specifically, the Opioid Marketing Enterprise Members’ creation of, and then

participation in, the Opioid Marketing Enterprise through a pattern of racketeering activities to

carry out their fraudulent scheme has injured Plaintiff and the Class in the form of substantial

losses of money and property that logically, directly, and foreseeably arise from the opioid-

addiction epidemic. Plaintiff’s and Class members’ injuries, as alleged throughout this Complaint,

and expressly incorporated herein by reference, include:

               (a)     costs paid and incurred by Plaintiff and the Class for prescription opioid

drugs manufactured, marketed, sold, or distributed by Purdue and other Opioid Marketing

Enterprise Members, for purposes other than resale (intended for consumption by its covered

participants, their dependents, and covered retirees);

               (b)     costs paid and incurred by Plaintiff and the Class for providing healthcare

and medical care, additional therapeutic and prescription drug purchases, and other treatments for

patients suffering from opioid-related addiction or disease, including overdoses and deaths;

               (c)     costs paid and incurred by Plaintiff and the Class for providing mental-

health services, treatment, counseling, rehabilitation services, and social services to covered

participants, their dependents, and covered retirees who are victims of the opioid epidemic;

               (d)     costs paid and incurred by Plaintiff and the Class for providing treatment of

infants born with opioid-related medical conditions, or born dependent on opioids due to drug use

by mother during pregnancy;



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               (e)     costs paid and incurred by Plaintiff and the Class associated with emergency

responses for their covered participants, their dependents, and covered retirees by first responders

to opioid overdoses; and

               (f)     costs of death benefits paid by Plaintiff and the Class to beneficiaries of

participants, who died as a result of opioid use disorder.

                                             COUNT II

                          Violation of the Ohio Corrupt Practices Act
                              Ohio Revised Code §2923.31, et seq.
                         (On behalf of Plaintiff and the Ohio Subclass)

       334.    For efficiency and to avoid repetition, Plaintiff incorporates by reference the

paragraphs of Plaintiff’s Count I above as if fully set forth herein, and further alleges as follows:

Publicis and the Opioid Marketing Enterprise Members’ Pattern of Corrupt Activity

       335.    Publicis was a person and member of an association-in-fact enterprise, the Opioid

Marketing Enterprise, within the meaning of Ohio Rev. Code Ann. §2923.31(G).

       336.    As alleged above, Publicis and Opioid Marketing Enterprise Members conducted

and participated in the conduct of the affairs of the Opioid Marketing Enterprise through a pattern

of “corrupt activities,” as defined in Ohio Rev. Code Ann. §2923.31(I)(1) and (2).

       337.    As previously alleged, Publicis and Opioid Marketing Enterprise Members engaged

in a pattern of corrupt activity by committing mail fraud (18 U.S.C. §1341) and wire fraud (18

U.S.C. §1343). Publicis and Opioid Marketing Enterprise Members’ acts also constitute a pattern

of telecommunications fraud (Ohio Rev. Code Ann. §2913.05). Publicis and Opioid Marketing

Enterprise Members formed an association-in-fact enterprise in order to unlawfully increase the

demand for opioids. Through their personal relationships, Publicis and the Opioid Marketing

Enterprise Members had the opportunity to form and take actions in furtherance of the Opioid

Marketing Enterprise’s common purpose. Their substantial financial contribution to the Opioid


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Marketing Enterprise, and the advancement of opioids-friendly messaging, fueled the U.S. opioids

epidemic.

       338.    Publicis and Opioid Marketing Enterprise Members, through the Opioid Marketing

Enterprise, made misleading statements and misrepresentations about opioids that downplayed the

risk of addiction and exaggerated the benefits of opioid use, including: (a) that addiction is rare

among patients taking opioids for pain; (b) that addiction risk can be effectively managed; (c) that

symptoms of addiction exhibited by opioid patients are actually symptoms of an invented condition

named “pseudoaddiction”; (d) that withdrawal is easily managed; (e) that increased dosing

presents no significant risks; (f) that long-term use of opioids improves function; (g) that the risks

of alternative forms of pain treatment are greater than the adverse effects of opioids; (h) that use

of time-released dosing prevents addiction; and (i) that ADFs provide a solution to opioid abuse.

Harms Felt and Relief Sought

       339.    Publicis’ and Opioid Marketing Enterprise Members’ violations of law and their

pattern of racketeering activity directly or indirectly caused Plaintiff’s and Class members’

injuries. Publicis’ and Opioid Marketing Enterprise Members’ pattern of racketeering activity

logically, substantially, and foreseeably caused and exacerbated an opioid epidemic. Plaintiff’s

and Class members’ injuries, as described below, were not unexpected, unforeseen, or

independent. Rather, Publicis and Opioid Marketing Enterprise Members knew that the opioids

were unsuited to treatment of long-term chronic, non-acute, and non-cancer pain, or for any other

use not approved by the FDA, and knew that opioids were highly addictive and subject to abuse.

Nevertheless, Publicis and Opioid Marketing Enterprise Members engaged in a scheme of

deception, which utilized the mail and wires as part of their fraud, in order to increase sales of

opioid products.




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       340.    It was foreseeable and expected that a massive marketing campaign utilized by

Publicis and Opioid Marketing Enterprise Members misrepresented the non-addictive and

effective use of prescription opioids for purposes for which they are not suited and not approved

by the FDA would lead to a nationwide opioid epidemic. It was also foreseeable and expected that

the marketing campaigns would lead to increased opioid addiction and overdose. Plaintiff’s and

Class members’ injuries were logically, foreseeable, and substantially caused by the opioid

epidemic that the Publicis and the Opioid Marketing Enterprise Members created.

       341.    Specifically, the Opioid Marketing Enterprise Members’ creation of, and then

participation in, the Opioid Marketing Enterprise through a pattern of racketeering activities to

carry out their fraudulent scheme has injured Plaintiff and the Class in the form of substantial

losses of money and property that logically, directly, and foreseeably arise from the opioid-

addiction epidemic. Plaintiff’s and Class members’ injuries, as alleged throughout this Complaint,

and expressly incorporated herein by reference, include:

               (a)     costs paid and incurred by Plaintiff and the Class for prescription opioid

drugs manufactured, marketed, sold, or distributed by Purdue and other Opioid Marketing

Enterprise Members, for purposes other than resale (intended for consumption by its covered

participants, their dependents, and covered retirees);

               (b)     costs paid and incurred by Plaintiff and the Class for providing healthcare

and medical care, additional therapeutic and prescription drug purchases, and other treatments for

patients suffering from opioid-related addiction or disease, including overdoses and deaths;

               (c)     costs paid and incurred by Plaintiff and the Class for providing mental-

health services, treatment, counseling, and rehabilitation services, and social services to covered

participants, their dependents, and covered retirees who are victims of the opioid epidemic;




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               (d)     costs paid and incurred by Plaintiff and the Class for providing treatment of

infants born with opioid-related medical conditions, or born dependent on opioids due to drug use

by mother during pregnancy;

               (e)     costs paid and incurred by Plaintiff and the Class associated with emergency

responses for their covered participants, their dependents, and covered retirees by first responders

to opioid overdoses; and

               (f)     costs of death benefits paid by Plaintiff and the Class to beneficiaries of

participants, who died as a result of opioid use disorder.

       342.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages; treble damages; equitable and/or injunctive relief, including corrective statements,

information, and education, under Ohio Rev. Code Ann. §2923.34(B)(1)-(2), requiring divestiture

by, and reasonable restrictions upon, the future activities of Publicis; forfeiture as deemed proper

by the Court; attorney’s fees and all costs; expenses of suit; and pre- and post-judgment interest.

                                            COUNT III

                                       Unjust Enrichment

       343.    As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Publicis has profited and benefited from the increase in the distribution and

purchase of opioids to those whose health care costs were the payors’ obligation, including from

opioids foreseeably and deliberately diverted within and into those communities.

       344.    Plaintiff has expended substantial amounts of money to fix or mitigate the societal

harms caused by Publicis’ conduct. Plaintiff and the Class have conferred benefits upon Publicis

by paying for what may be called Publicis’ externalities – the costs of the harm caused by Publicis’

negligent or otherwise unlawful distribution and sales practices.




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          345.    Publicis is aware of these obvious benefits, and that retention of these benefits is

unjust.

          346.    Because of their deceptive marketing of prescription opioids, Publicis obtained

enrichment they would not otherwise have obtained. Because of their conscious failure to exercise

due diligence in preventing diversion, Publicis obtained enrichment it would not otherwise have

obtained. The enrichment was without justification and Plaintiff and the Class lack a remedy

provided by law.

          347.    Publicis made substantial profits while fueling the prescription drug epidemic in

the communities served by Plaintiff and the Class.

          348.    Publicis has been unjustly enriched by its negligent, intentional, malicious,

oppressive, illegal, and unethical acts, omissions, and wrongdoing.

          349.    It would be inequitable to allow Publicis to retain benefit or financial advantage.

          350.    Publicis’ misconduct alleged in this case has caused ongoing and persistent harm

to Plaintiff and the Class.

          351.    Plaintiff demands judgment against Publicis for restitution, disgorgement, and any

other relief allowed in law or equity.

                                              COUNT IV

                              Common Law Absolute Public Nuisance

          352.    Publicis created and maintained a public nuisance which proximately caused injury

to Plaintiff and the Class.

          353.    A public nuisance is an unreasonable interference with a right common to the

general public.

          354.    Publicis has created and maintained a public nuisance by promoting and marketing

opioids in ways that unreasonably interfere with the public health, welfare, and safety in Plaintiff’s


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and Class members’ communities, and Plaintiff, Class members, and residents of their

communities have a common right to be free from such conduct and to be free from conduct that

creates a disturbance and reasonable apprehension of danger to person and property.

       355.    This public nuisance is an absolute public nuisance because Publicis’ nuisance

creating conduct was intentional and unreasonable and/or violated statutes which established

specific legal requirements for the protection of others.

       356.    Publicis has created and maintained an absolute public nuisance through its ongoing

conduct of promoting, marketing, distributing, and selling opioids – dangerously addictive drugs

– in a manner which caused prescriptions and sales of opioids to skyrocket in Plaintiff’s and Class

members’ communities, flooded their communities with opioids, and facilitated and encouraged

the flow and diversion of opioids into illegal, secondary markets, resulting in devastating

consequences to Plaintiff, Class members, and their communities.

       357.    Publicis knew, and has known, that its intentional, unreasonable, and unlawful

conduct will cause, and has caused, opioids to be used and possessed illegally and that its conduct

has produced an ongoing nuisance that has had, and will continue to have, a detrimental effect

upon the public health, welfare, safety, peace, comfort, and convenience of Plaintiff, Class

members, and their communities.

       358.    Publicis’ conduct has created an ongoing, significant, unlawful, and unreasonable

interference with rights common to the general public, including the public health, welfare, safety,

peace, comfort, and convenience of Plaintiff, Class members, and their communities.             See

Restatement (Second) of Torts §821B.

       359.    The interference is unreasonable because Publicis’ nuisance-creating conduct:




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               (a)     involves a significant interference with the public health, the public safety,

the public peace, the public comfort, and/or the public convenience;

               (b)     at all relevant times was and is proscribed by state and federal laws and

regulations; and/or

               (c)     is of a continuing nature and, as Publicis knows, has had and is continuing

to have a significant effect upon rights common to the general public, including the public health,

the public safety, the public peace, the public comfort, and/or the public convenience.

       360.    Publicis intentionally and unreasonably and/or unlawfully worked with opioid

manufacturers to deceptively market and push as many opioids onto the market as possible, fueling

addiction to and diversion of these powerful narcotics, resulting in increased addiction and abuse,

an elevated level of crime, death and injuries to Plaintiff’s and Class members’ participants and

residents of Plaintiff’s and Class members’ communities, a higher level of fear, discomfort, and

inconvenience to the residents of Plaintiff’s and Class members’ communities, and direct costs to

Plaintiff and Class members.

       361.    Publicis is liable for creating the public nuisance because the intentional and

unreasonable and/or unlawful conduct of Publicis was a substantial factor in producing the public

nuisance and harm to Plaintiff and Class members.

       362.    Publicis’ unlawful nuisance-creating conduct includes: promoting, marketing,

and/or selling opioids in ways that facilitated and encouraged their flow into the illegal, secondary

market; and promoting, marketing, and/or selling of opioids prescribed by “pill mills” when

Publicis knew, or should have known, the opioids were being prescribed by “pill mills.”

       363.    The gravity of the harm caused by Publicis’ intentional and unreasonable nuisance-

creating conduct outweigh the utility of the conduct.




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          364.   Publicis intentionally and unreasonably promoted and encouraged the distribution

and sale of opioids that Publicis knew would be diverted into the illegal, secondary market and

would be obtained by persons with criminal purposes.

          365.   Publicis intentionally and unreasonably engaged in a deceptive marketing scheme

that was designed to, and successfully did, change the perception of opioids and cause their

prescribing and sales to skyrocket in Plaintiff’s and Class members’ communities.

          366.   Publicis intentionally and unreasonably misled Plaintiff, other payors, healthcare

providers, and the public about the risks and benefits of opioids, including minimizing the risks of

addiction and overdose and exaggerating the purported benefits of long-term use of opioids for the

treatment of chronic pain.

          367.   Publicis violated Ohio and federal statutes and regulations by engaging in the

deceptive marketing of opioids, as described in this Complaint.

          368.   In the distribution and sale of opioids in Ohio and throughout the United States,

Publicis violated and/or aided and abetted violations of Ohio Rev. Code §2925.02(A), which

states:

          “No person shall knowingly do any of the following:

                 (1) By force, threat, or deception, administer to another or induce or cause
          another to use a controlled substance; . . . [or]

                 (3) By any means, administer or furnish to another or induce or cause
          another to use a controlled substance, and thereby cause serious physical harm to
          the other person, or cause the other person to become a person with drug
          dependency.”

          369.   Publicis’ clients are in the business of marketing, advertising, and/or selling

prescription drugs, including opioids, which are specifically known to Publicis to be dangerous

because inter alia these drugs are defined under federal and state law as substances posing a high

potential for abuse and addiction.


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       370.    Indeed, opioids are akin to medical-grade heroin. Publicis’ wrongful conduct of

deceptively advertising, promoting, marketing, and pushing as many opioids onto the market as

possible led directly to the public nuisance and harm to Plaintiff and Class members – exactly as

would be expected when medical-grade heroin in the form of prescription opioids are deceptively

marketed, flood the community, and are diverted into an illegal, secondary market.

       371.    Publicis had control over its conduct in Plaintiff’s and Class members’

communities, and that conduct has had an adverse effect on rights common to the general public.

Publicis controlled and participated in its clients’ deceptive advertising and efforts to mislead the

public, including its acts and omissions in detailing by account directors, marketing strategies,

sales representatives, online communications, publications, and other speaking events, and other

means as described in this Complaint.

       372.    It was reasonably foreseeable that Publicis’ actions and omissions would result in

the public nuisance and harm to Plaintiff and Class members described herein.

       373.    Because of Publicis’ and the Opioid Marketing Enterprise Members’ deceptive

marketing of opioids and its clients’ special positions within the closed system of opioid promotion

and distribution, without Publicis’ and the Opioid Marketing Enterprise Members’ actions, opioid

use would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

       374.    The public nuisance created by Publicis’ actions is substantial and unreasonable. It

has caused and continues to cause significant harm to Plaintiff’s and Class members’ communities,

and the harm inflicted outweighs any offsetting benefit.

       375.    The externalized risks associated with Publicis’ nuisance-creating conduct as

described herein greatly exceed the internalized benefits.




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       376.    As a direct and proximate result of Publicis’ tortious conduct and the public

nuisance created by Publicis, Plaintiff and Class members have suffered and will continue to suffer

economic damages, as detailed herein.

       377.    As a direct and proximate result of Publicis’ tortious conduct and the public

nuisance created by Publicis, Plaintiff has suffered and will continue to suffer stigma damage, non-

physical property damage, and damage to its proprietary interests.

       378.    The nuisance created by Publicis’ conduct is abatable.

       379.    Publicis’ misconduct alleged in this case is ongoing and persistent.

       380.    Publicis’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is not

part of the normal and expected costs of a local government’s existence. Plaintiff alleges wrongful

acts which are neither discrete nor of the sort a local government can reasonably expect.

       381.    Plaintiff has incurred expenditures for special programs over and above Plaintiff’s

ordinary services.

       382.    Plaintiff seeks to abate the nuisance created by Defendant’s unreasonable,

unlawful, intentional, ongoing, continuing, and persistent actions and omissions and unreasonable

interference with rights common to the general public.

       383.    Plaintiff and Class members have suffered, and will continue to suffer, unique

harms as described in this Complaint, which are of a different kind and degree than Ohio citizens

– and citizens of other States – at large. These are harms that can only be suffered by Plaintiff.

       384.    Plaintiff is asserting its own rights and interests and Plaintiff’s claims are not based

upon or derivative of the rights of others.




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        385.    The tortious conduct of Publicis was a substantial factor in creating the absolute

public nuisance asserted in this Complaint.

        386.    The tortious conduct of Publicis was a substantial factor in producing harm to

Plaintiff and Class members. Plaintiff and Class members have suffered an indivisible injury as a

result of the tortious conduct of Publicis.

        387.    Publicis acted with actual malice because Publicis acted with a conscious disregard

for the rights and safety of other persons, and said actions had a great probability of causing

substantial harm.

        388.    Plaintiff asserts this Cause of Action as a common law tort claim for absolute public

nuisance and not as a “product liability claim” as defined in Ohio Rev. Code §2307.71. In this

Claim, Plaintiff does not seek damages for death, physical injury to person, emotional distress, or

physical damages to property, as defined under the Ohio Product Liability Act, Ohio Rev. Code

§2307.71 et seq.

        389.    Plaintiff does seek all legal and equitable relief as allowed by law, including inter

alia injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages,

and all damages allowed by law to be paid by Publicis, including, but not limited to, attorney fees

and costs, and pre- and post-judgment interest.

X.      JURY DEMAND

        Plaintiff, on behalf of itself and all others similarly situated, requests a trial by jury on all

issues so triable.

XI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of itself and all others similarly situated, respectfully

prays that this Court grant the following relief:




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        A.       for an order certifying the proposed Class herein;

        B.       enter judgment in favor of Plaintiff and the Class, on behalf of itself and all others

similarly situated, against Defendant awarding Plaintiff its actual damages for the damages

caused by the opioid epidemic, including, but not limited to: (a) costs for opioids that Plaintiff

and the Class paid for in whole or in part; (b) costs for providing medical care, additional

therapeutic and prescription drug purchases, and other treatments for patients suffering from

opioid-related addiction or disease, including overdoses and deaths; (c) costs for providing

treatment, counseling, and rehabilitation services; (d) costs of emergency of other medical

services caused by opioid use disorder; and (e) costs of death benefits paid to beneficiaries of

participants, who died as a result of opioid use disorder.

        C.       enter a judgment disgorging Defendant’s ill-gotten gains;

        D.       order Defendant to fund an “abatement fund” for the purposes of abating the

opioid nuisance;

        E.       enjoin Defendant from continuing or repeating the wrongful conduct alleged

herein and from the publication and/or dissemination of false and misleading materials directly

or indirectly;

        F.       enter judgment against Defendant requiring Defendant to pay civil penalties,

treble damages, and punitive damages, where available;

        G.       enter judgment against Defendant awarding Plaintiff its reasonable attorneys’

fees, all costs and expenses, pre- and post-judgment interest; and

        H.       all other such and further relief as this Court may deem just and proper.




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DATED: April 12, 2024                Respectfully submitted,

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